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               EXHIBIT 2
          Public Redacted Version--Conditionally Filed Under Seal
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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

TERADATA US, INC.,

       Plaintiff,

and

TERADATA CORPORATION and
TERADATA OPERATIONS, INC.

       Plaintiffs/Counterclaim-Defendants,

v.

SAP SE,

       Defendant/Counterclaim-Plaintiff,

and

SAP AMERICA, INC. and SAP LABS, LLC,

       Defendants.




                     EXPERT REPORT OF DR. GREGORY K. LEONARD
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       I.      QUALIFICATIONS

       1.      My name is Gregory K. Leonard. I am an economist and Vice President at Charles River

       Associates, 601 12th Street, Suite 1500, Oakland, CA 94607.

       2.      I received a Bachelor of Science in Applied Mathematics-Economics from Brown

       University in 1985 and a Ph.D. in Economics from the Massachusetts Institute of Technology in

       1989. After receiving my Ph.D., I became an assistant professor at Columbia University. I

       subsequently moved into economic consulting and worked at several economic consulting firms

       prior to joining CRA.

       3.      My specialties within economics are applied microeconomics, the study of the behavior

       of consumers and firms, and econometrics, the application of statistical methods to economics

       data. I have published more than sixty articles in scholarly and professional publications, which

       are listed on my curriculum vitae, which is attached as Appendix A. Many of these articles

       address issues in industrial organization and the economics of intellectual property.

       4.      I am the Vice Chair for Economics of the Board of Editors of the Antitrust Law Journal

       and have served as a referee for numerous economics and other professional journals. I have

       given invited lectures on antitrust and intellectual property issues at the Federal Trade

       Commission (FTC), the United States Department of Justice (DOJ), the Directorate General for

       Competition of the European Commission, the Fair Trade Commission of Japan, and China’s

       Supreme People’s Court and Ministry of Commerce. I have been retained by the DOJ to consult

       on antitrust matters.

       5.      In 2009, I was invited to speak at a session of the FTC’s hearings on the “Evolving IP

       Marketplace” concerning the calculation of patent damages.           In the report that the FTC

       subsequently issued, my views on damages calculation were cited extensively. In 2007, I served




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       as a consultant to, and testified before, the Antitrust Modernization Commission, which was

       tasked by Congress and the President of the United States to make recommendations for revising

       U.S. antitrust laws. In its Uniloc1 decision, the U.S. Court of Appeals for the Federal Circuit

       cited one of my publications in support of its conclusion that a method of calculating reasonable

       royalty damages in a patent case (the so-called “25% Rule”) is an unreliable and flawed

       methodology.

       6.        I have served as an expert witness in a number of litigation matters before U.S. District

       Courts, state courts, arbitration panels, and the U.S. International Trade Commission. A list of

       cases in which I have testified (in deposition or at trial) in the last five years is provided in

       Appendix A. My hourly rate for this matter is $1,050.

       II.       OVERVIEW

       7.        On December 21, 2018, Teradata Corporation (“Teradata Corp”), Teradata US, Inc.

       (“Teradata US”), and Teradata Operations, Inc. (Teradata Ops”) filed their Second Amended

       Complaint alleging trade secret misappropriation, copyright infringement, and antitrust

       violations of the Sherman Act and Clayton Act against SAP SE (“SAP”), SAP America, Inc.

       (“SAP America”), and SAP Labs, LLC (“SAP Labs”). 2

       8.              On July 10, 2019 SAP, SAP America, and SAP Labs filed their Amended Answer

       to the Second Amended Complaint and SAP filed its Counterclaims alleging patent infringement




       1
            Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1317 (Fed. Cir. 2011).
       2
            Second Amended Complaint for Trade Secret Misappropriation, Copyright Infringement, Violation of Sherman
            Act § 1, Violation of Clayton Act § 3, Violation of Sherman Act § 2; Teradata Corporation, Teradata US, Inc.,
            and Teradata Operations, Inc., Plaintiffs, v. SAP SE, SAP America, Inc., and SAP Labs, LLC, Defendants;
            December 21, 2018 (“Teradata’s Second Amended Complaint”); pp. 28-31, 32-36.




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       against Teradata Corp and Teradata Ops. 3 SAP’s patent infringement counterclaims against

       Teradata originally involved the following five SAP patents: (1) U.S. Patent No. 9,626,421 (“the

       ’421 patent”); (2) U.S. Patent No. 8,214,321 (“the ’321 patent”); (3) U.S. Patent No. 7,421,437

       (“the ’437 patent”); (4) U.S. Patent No. 7,617,179 (“the ’179 patent”); and (5) U.S. Patent No.

       7,437,516 (“the ’516 patent”).4 I understand that according to SAP’s Narrowed Set of Patent

       Claims filed on December 15, 2020 that the ’516 patent is no longer being asserted in this

       matter.5 Therefore, SAP is now alleging patent infringement against Teradata for the ’421, ’321,

       ’437, and ’179 patents, which I refer to as the “SAP patents-in-suit” throughout this report.

       9.        I have been asked by counsel for SAP to analyze the damages allegedly sustained by SAP

       under the assumption that the asserted claims of the SAP patents-in-suit are valid, enforceable,

       and infringed by Teradata. The information I have considered in forming my opinions for this

       report is noted throughout the report and includes the materials listed in Appendix B.


       III.      SUMMARY OF OPINIONS
       10.       Based on the facts of this case and on the economic analysis discussed throughout this

       report, I have reached the following opinions.

            ’421 Patent Damages
             o Comparable License Approach: My economic damages analysis based on the
               comparable JuxtaComm-SAP agreement results in lump-sum reasonable royalties for an
               April 2017 hypothetical license to the ’421 patent of     for the damages period


       3
            Defendants’ Amended Answer to the Second Amended Complaint; SAP SE’s Counterclaims; Teradata US, Inc.,
            Plaintiff, and Teradata Corporation and Teradata Operations, Inc., Plaintiffs/Counterclaim-Defendants, v. SAP
            SE, Defendant/Counterclaim-Plaintiff, and SAP America, Inc. and SAP Labs, LLC, Defendants; July 10, 2019
            (“SAP’s Amended Answer and Counterclaims”); pp. 34-63. For the purposes of this report, which pertains
            solely to the calculation of damages related to SAP SE’s patent infringement counterclaims against Teradata
            Corp and Teradata Ops, I refer to Teradata Corp and Teradata Ops collectively as “Teradata”. In circumstances
            where it is necessary to refer specifically to one of these Teradata entities, I identify them individually.
       4
            SAP’s Amended Answer and Counterclaims, p. 28.
       5
            SAP SE’s Narrowed Set of Patent Claims, December 15, 2020, p. 1.




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                 from April 18, 2017 through November 2021 and            for the damages period from
                 May 21, 2019 through November 2021. 6
            o Profit Apportionment Approach: My economic damages analysis based on the
              apportionment of the expected profits of the Teradata Accused Products to the claimed
              technologies of the ’421 patent results in lump-sum reasonable royalties for an April
              2017 hypothetical license to the ’421 patent of                       for the damages
              period from April 18, 2017 through November 2021 and                            for the
              damages period from May 21, 2019 through November 2021. 7
           ’321 Patent Damages
            o Comparable License Approach: My economic damages analysis based on the
              comparable JuxtaComm-SAP agreement results in lump-sum reasonable royalties for a
              September 2014 hypothetical license to the ’321 patent of       for the damages
              period from September 1, 2014 through November 2021 and         for the damages
              period from May 21, 2019 through November 2021.8
            o Profit Apportionment Approach: My economic damages analysis based on the
              apportionment of the expected profits of the Teradata Accused Products to the claimed
              technologies of the ’321 patent results in lump-sum reasonable royalties for a September
              2014 hypothetical license to the ’321 patent of            for the damages period from
              September 1, 2014 through November 2021 and                for the damages period from
              May 21, 2019 through November 2021. 9
           ’437 Patent Damages
            o Profit Apportionment Approach: My economic damages analysis based on the
              apportionment of the expected profits of the Teradata Accused Products to the claimed
              technologies of the ’437 patent results in lump-sum reasonable royalties for a May 2013
              hypothetical license to the ’437 patent of         to            for the damages period
              from July 10, 2013 through November 2021 and               to           for the damages
              period from May 21, 2019 through November 2021.10
           ’179 Patent Damages
            o Profit Apportionment Approach: My economic damages analysis based on the
              apportionment of the expected profits of the Teradata Accused Products to the claimed
              technologies of the ’179 patent results in lump-sum reasonable royalties for a May 2013
              hypothetical license to the ’179 patent of             to               for the damages




       6
            Exhibit 1a.
       7
            Exhibit 1a.
       8
            Exhibit 1a.
       9
            Exhibit 1a.
       10
            Exhibit 1a.




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                  period from July 10, 2013 through November 2021 and                         to                 for the
                  damages period from May 21, 2019 through November 2021. 11


       IV.        BACKGROUND

             A.        SAP

                  1.      Relevant SAP Entities

       11.        SAP SE, referred to as SAP throughout this report, is a European company that serves as

       the global headquarters for SAP.12 SAP SE is the assignee and sole owner of each of the SAP

       patents-in-suit.13

       12.        SAP was founded in 1972 and is a global leader in enterprise application software,

       defined as “computer software specifically developed to support and automate business

       processes,” and an experience management, analytics, and business company. 14 SAP’s product

       portfolio encompasses three main areas: Experience, Intelligence, and Operations.

            Experience – “Experience Management (XM) refers both to the discipline of seeking out and
             closing the gaps found in the four core experiences of business – customer, product,
             employee, and brand – as well as technology.”15 The Qualtrics XM Platform, technology
             acquired by SAP in the 2019 acquisition of Qualtrics International, Inc., covers a portfolio of
             products including Qualtrics CoreXM, Qualtrics CustomerXM, Qualtrics EmployeeXM,
             Qualtrics ProductXM, and Qualtrics BrandXM. 16
            Intelligence – “The Business Technology Platform was introduced in 2019. It provides
             solutions across four key technology areas: database and data management (SAP HANA);
             analytics (SAP Analytics Cloud); application development and integration (SAP Cloud
             Platform); and intelligent technologies (Internet of Things, machine learning, and
             blockchain) on an open cloud platform, running in SAP data centers and on selected


       11
            Exhibit 1a.
       12
            Teradata’s Second Amended Complaint, p. 2; SAP’s Amended Answer and Counterclaims, p. 5.
       13
            SAP’s Amended Answer and Counterclaims, p. 28.
       14
            SAP SE Form 20-F for the fiscal year ended December 31, 2019 (“SAP 2019 20-F”), p. 25.
       15
            SAP 2019 20-F, p. 30.
       16
            SAP 2019 20-F, p. 30.




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             hyperscalers. The platform’s business-centric technologies are designed to enable integration
             and innovation across the entire intelligent suite.”17 Below is a summary of key technology
             areas and related solutions:
             o Database and Data Management:                 SAP HANA and Enterprise Information
               Management.18
             o Analytics: SAP Analytics Cloud, SAP BusinessObjects Business Intelligence, SAP Data
               Warehouse Cloud, and SAP BW/4HANA. 19
             o Application Development and Integration: SAP Cloud Platform. 20
             o Intelligence Technologies: SAP Leonardo Internet of Things, SAP Leonardo Artificial
               Intelligence, and SAP Leonardo Blockchain. 21
            Operations – “Integrated with SAP S/4HANA and built on an open cloud platform to enable
             integration across heterogeneous environments, our operations offerings can connect to third-
             party applications and data. Following the acquisition of Qualtrics in 2019, we added
             Experience Management (XM) capabilities to our operations solutions.” 22 Below is a
             summary of SAP’s operations offerings:
             o Customer: SAP C/4HANA and SAP S/4HANA.23
             o Supply Chain: SAP Integrated Business Planning for Supply Chain. 24
             o Manufacturing: SAP Intelligent Asset Management. 25
             o Human Resources: SAP SuccessFactors. 26
             o Procurement: SAP Ariba, SAP Fieldglass, and SAP Concur. 27


       13.       In addition to SAP’s product portfolio, SAP also provides its customers maintenance and

       consulting services. “SAP provides an entire portfolio of services and support offerings designed



       17
            SAP 2019 20-F, p. 30.
       18
            SAP 2019 20-F, p. 30.
       19
            SAP 2019 20-F, pp. 30-31.
       20
            SAP 2019 20-F, p. 31.
       21
            SAP 2019 20-F, p. 31.
       22
            SAP 2019 20-F, p. 31.
       23
            SAP 2019 20-F, p. 31.
       24
            SAP 2019 20-F, p. 32.
       25
            SAP 2019 20-F, p. 32.
       26
            SAP 2019 20-F, p. 32.
       27
            SAP 2019 20-F, p. 32.




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       to help customers maximize the value of their SAP solutions in on-premise, cloud, and hybrid

       environments. In 2019, we continued a process that began in 2017 to simplify the SAP services

       and support portfolio and expand our range of intelligent tools to underpin services and support

       offerings for the intelligent enterprise, including XM services. This simplification established

       three portfolio categories to address customers’ needs for as long as they use SAP software –

       premium success, project success, and continuous success.” 28

           Premium Success – “Our premium success services support large-scale transformation
            initiatives through a single, strategic, and customized on-site engagement. Our team of SAP
            experts help customers design, deploy, adopt, and operate SAP solutions on premise, hybrid,
            or in the cloud. The offerings differ based on size of customer and intensity of
            engagement.”29
           Project Success – “Our project success services support the adoption of SAP products and
            technologies. These include services to help deliver a digital business strategy, preconfigured
            content for multiple industries or lines of business, best practices, methodologies, and tools.
            Further, these offerings also support the use of emerging technologies and the
            implementation of or transition to SAP S/4HANA.” 30
           Continuous Success – “Our continuous success services support our cloud solutions and on-
            premise software. We offer services to provide proactive, predictive, and preventive support
            across hybrid landscapes to help customers move to the cloud and make SAP S/4HANA their
            Intelligent ERP of choice as well as bundled customer success activities to accelerate cloud
            adoption.”31
           Intelligent Tools – In addition to the three portfolio categories, “[w]e also provide intelligent
            tools to help guide and deliver application management and administrative support for our
            service offerings.”32




       28
            SAP 2019 20-F, p. 32.
       29
            SAP 2019 20-F, p. 32.
       30
            SAP 2019 20-F, p. 32.
       31
            SAP 2019 20-F, p. 32.
       32
            SAP 2019 20-F, p. 32.




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                 2.        SAP Patents-In-Suit

                      a.      The ’421 Patent

       14.       The ’421 patent was issued on April 18, 2017 from U.S. Patent Application No.

       12/234,497, filed on September 19, 2008, and the assignee was Hasso-Plattner-Institut Fur

       Softwaresystemtechnik GmbH (“HPI”). 33 I understand that the priority date for the ’421 patent

       is September 21, 2007, the filing date of Provisional Application No. 60/994,893. 34 The ’421

       patent is titled, “ETL-less zero-redundancy system and method for reporting OLTP data,” and is

       described in the Abstract to the patent as follows:

                 A system includes a relational database management system component and a
                 column-oriented data processing component. The relational database system
                 component stores database information in a row format. The column-oriented data
                 processing component stores the database information in a column format. In
                 response to a database update request, the relational database management system
                 component updates the database information stored in the row format; the
                 relational database management system component notifies the column-oriented
                 data processing component of the database update request; and the column-
                 oriented data processing component updates the database information stored in
                 said column format. In response to a query request, the column-oriented data
                 processing component generates a query response based on the database
                 information stored in said column format. In this manner, the system is able to
                 generate up-to-date reports without the need for extraction, translation and
                 loading procedures. 35


       I understand that the ’421 patent is set to expire on October 9, 2030. 36




       33
            U.S. Patent No. 9,626,421.
       34
            Counterclaim-Plaintiff SAP SE’s Disclosures Pursuant to Patent L.R. 3-1 and 3-2, August 19, 2019, Patent L.R.
            3-1(f) Disclosures – Priority Dates, p. 6.
       35
            U.S. Patent No. 9,626,421.
       36
            U.S. Patent No. 9,626,421; “US9626421B2 – ETL-less zero-redundancy system and method for reporting OLTP
            data,” Google Patents, March 27, 2021, https://patents.google.com/patent/US9626421B2.




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       15.       I understand that on November 20, 2008 the inventors of the ’421 patent assigned their

       rights in U.S. Patent Application No. 12/234,497, which eventually issued as the ’421 patent, to

       HPI. 37




                                                                      0
                                                                          U.S. Patent Application No. 12/234,497

       issued as the ’421 patent on April 18, 2017. 41 Finally, I understand that HPI assigned its rights

       to the ’421 patent to SAP on May 8, 2019. 42

       16.       The asserted claims of the ’421 patent include claims 1, 2, 3, 14, 16, 17, 19, and 20. 43 I

       understand that the claimed technology of the ’421 patent generally relates to a “novel way to

       store data in row-format and column-format” for use in online transaction processing (“OLTP”)



       37
            SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 9; U.S. Patent No. 9,626,421.
       38
            TD13482247 at 248-249.
       39
            SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 9; Deposition 30(b)(1) of Kevin Prey,
            February 9, 2021, pp. 26-31.
       40
            SAP_36981833; Deposition 30(b)(1) of Kevin Prey, February 9, 2021, pp. 28-29.
       41
            U.S. Patent No. 9,626,421.
       42
            SAP_02681642; SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 9.
       43
            SAP SE’s Narrowed Set of Patent Claims, December 15, 2020, p. 1; Expert Report of Dr. David Maier In
            Support of SAP SE’s Patent Infringement Claims, March 15, 2021 (“Maier Report”), ¶ 207.




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       and online analytical processing (“OLAP”), respectively. 44 The Teradata products accused of

       infringing the ’421 patent are Teradata Columnar (“TD Columnar”), Teradata Intelligent

       Memory (“TIM”), and Teradata Database Version 14.10 and higher (“Teradata Database”),

       which includes “Teradata Vantage and any other Teradata offering that includes the accused

       functionality from TD Database, including without limitation Teradata IntelliFlex, Teradata

       IntelliBase, Teradata Cloud or another cloud service, Teradata Hybrid Cloud or another hybrid

       cloud/on-premises system, or any other Teradata platform or service on which TD Database is

       installed and run” (when specifically addressing these additional Teradata Database products

       separately from Teradata Database Version 14.10 and higher, I refer to them collectively as the
                                                           45
       “Related Teradata Database Products”).                    I understand that the ’421 patent’s accused

       functionality is “join index creation in combination with the Teradata Columnar feature of

       Teradata Database, as used, for example, to create a single-table join index from a base table,

       with data of the single-table join index stored in column format, and with identical data of the

       base table stored in row format.”46

       17.       I understand that a benefit of the claimed technology of the ’421 patent is that “[i]n a

       hybrid system that supports both OLTP processing and OLAP processing, where the same data is

       stored in row format and in column format, it is important for the row format data and the

       column format data to be consistent, or synchronized. Thus, in the ’421 patent when the row-



       44
            Maier Report, ¶ 183.
       45
            Maier Report, ¶ 218, Appendix 1; Counterclaim-Plaintiff SAP SE’s Disclosures Pursuant to Patent L.R. 3-1 and
            3-2, August 19, 2019, Patent L.R. 3-1(b) Disclosures – Infringing Instrumentalities, pp. 1-3; Defendants’ First
            Supplemental Responses and Objections to Plaintiffs’ Seventh Set of Interrogatories (No. 51), October 29, 2020,
            Response to Interrogatory No. 51, p. 7; Defendants’ Second Supplemental Responses and Objections to
            Plaintiffs’ Seventh Set of Interrogatories (No. 51), February 12, 2021, Response to Interrogatory No. 51, p. 7.
       46
            Defendants’ Second Supplemental Responses and Objections to Plaintiffs’ Seventh Set of Interrogatories (No.
            51), February 12, 2021, Response to Interrogatory No. 51, p. 7; Maier Report, ¶¶ 223-229.




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       format data is updated, the column-format data is also updated in the same database transaction.

       In particular, in the ’421 patent, the row format data and column format data are kept

       synchronized, unlike a system using an ETL approach, where updates to the column-format data

       might lag behind updates to the row-format data.”47 Teradata touts performance improvements

       resulting from this technology for certain workloads and queries; 48



                                                                                                       49



                     b.       The ’321 Patent

       18.       The ’321 patent was issued on July 3, 2012 from U.S. Patent Application No. 10/854,164,

       filed on May 27, 2004, and the assignee was SAP AG.50 I understand that the priority date for

       the ’321 patent is May 28, 2003, the filing date of EP 03012034. 51 The ’321 patent is titled,

       “Systems and methods for data processing,” and is described in the Abstract to the patent as

       follows:

                 Data processing methods and systems are provided. The data processing methods
                 and systems may include providing a set of database tables in a data warehouse,
                 each one of the database tables being assigned to an entity type and storing
                 entities of its entity type, providing at least one application program for
                 processing of classes of database tables, assigning at least one of the database
                 tables to each one of the classes of database tables of the application program, and
                 processing entities stored in the assigned database tables by the application
                 program.52



       47
            Maier Report, ¶ 200.
       48
            TD01921852 at 854; TD01923635 at 636; TD02175809 at 821; TD02218145 at 146; TD03532710 at 712;
            TD03637000 at 001; TD04145710 at 725.
       49
            TD02175809 at 821.
       50
            U.S. Patent No. 8,214,321.
       51
            Counterclaim-Plaintiff SAP SE’s Disclosures Pursuant to Patent L.R. 3-1 and 3-2, August 19, 2019, Patent L.R.
            3-1(f) Disclosures – Priority Dates, p. 6.
       52
            U.S. Patent No. 8,214,321.




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       I understand that the ’321 patent is set to expire on May 7, 2029. 53


       19.       I understand that on August 13, 2004 the inventor of the ’321 patent assigned their rights

       in U.S. Patent Application No. 10/854,164, which eventually issued as the ’321 patent on July 3,

       2012, to SAP.54

       20.       The asserted claims of the ’321 patent include claims 1, 2, and 4. 55 I understand that the

       claimed technology of the ’321 patent generally relates to “ways to organize the tables and cubes

       used in databases so that they can be more easily and efficiently recognized and accessed. At a

       high level this is done by assigning a table or cube to a particular class. These classes serve to

       group data structures storing related data, so an application can access the structures together.” 56

       The Teradata products accused of infringing the ’321 patent are all versions of Teradata

       Analytics for SAP Solutions (“TAS”) and Teradata Enterprise Analytics Solutions/Teradata

       Analytics for Enterprise Applications (“EAS”) used in combination with compatible versions of

       Teradata Database and business intelligence (“BI”) tools from Teradata or third parties. 57




       53
            U.S. Patent No. 8,214,321; “US8214321B2 – Systems and methods for data reporting,” Google Patents, March
            27, 2021, https://patents.google.com/patent/US8214321B2.
       54
            SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 9; U.S. Patent No. 8,214,321.
       55
            SAP SE’s Narrowed Set of Patent Claims, December 15, 2020, p. 1; Maier Report, ¶ 389.
       56
            Maier Report, ¶ 377.
       57
            Maier Report, ¶ 400; Counterclaim-Plaintiff SAP SE’s Disclosures Pursuant to Patent L.R. 3-1 and 3-2, August
            19, 2019, Patent L.R. 3-1(b) Disclosures – Infringing Instrumentalities, pp. 1-3; SAP SE’s Supplement to Patent
            L.R. 3-8 Damages Contentions, October 12, 2020, pp. 6-7; Defendants’ First Supplemental Responses and
            Objections to Plaintiffs’ Seventh Set of Interrogatories (No. 51), October 29, 2020, Response to Interrogatory
            No. 51, pp. 7-8; Defendants’ Second Supplemental Responses and Objections to Plaintiffs’ Seventh Set of
            Interrogatories (No. 51), February 12, 2021, Response to Interrogatory No. 51, pp. 7-8.




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       21.       I understand that a benefit of the claimed technology of the ’321 patent is that it involves

       the organization of “tables and cubes used in databases so that they can be more easily and

       efficiently recognized and accessed.”63




       58
            Maier Report, ¶ 406.
       59
            Maier Report, ¶ 407.
       60
            Maier Report, ¶ 408.
       61
            Maier Report, ¶ 410.
       62
            Maier Report, ¶ 411.
       63
            Maier Report, ¶ 377.




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                                     . 64

                     c.       The ’437 Patent

       22.       The ’437 patent was issued on September 2, 2008 from U.S. Patent Application No.

       10/704,924, filed on November 10, 2003, and the assignee was SAP AG. 65 I understand that the

       priority date for the ’437 patent is November 10, 2003. 66 The ’437 patent is titled, “System and

       method for a data dictionary cache in a distributed system,” and is described in the Abstract to

       the patent as follows:

                 A system and method to provide a data dictionary cache in a distributed system is
                 disclosed. An application server may include a data dictionary broker agent to
                 provide an interface between an underlying data dictionary and an application.
                 The application server may also include one or more data dictionary caches to
                 provide efficient access to frequently requested system information. 67


       I understand that the ’437 patent is set to expire on November 16, 2024. 68


       23.       I understand that on November 12, 2004 the inventors of the ’437 patent assigned their

       rights in U.S. Patent Application No. 10/704,924, which eventually issued as the ’437 patent on

       September 2, 2008, to SAP.69




       64
            TD00588575 at 575-576; TD00629908 at 909.
       65
            U.S. Patent No. 7,421,437.
       66
            Counterclaim-Plaintiff SAP SE’s Disclosures Pursuant to Patent L.R. 3-1 and 3-2, August 19, 2019, Patent L.R.
            3-1(f) Disclosures – Priority Dates, p. 6.
       67
            U.S. Patent No. 7,421,437.
       68
            U.S. Patent No. 7,421,437; “US7421437B2 – Systems and method for data dictionary cache in a distributed
            system,” Google Patents, March 27, 2021, https://patents.google.com/patent/US7421437B2.
       69
            SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 7; U.S. Patent No. 7,421,437.




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       24.       The asserted claims of the ’437 patent include claims 1, 3, 4, 5, 11, 12, 13, 14, and 15. 70 I

       understand that the claimed technology of the ’437 patent generally relates to “storing data

       dictionary information in application-layer caches so that the data dictionary information can be

       accessed more quickly and efficiently.”71 The Teradata product accused of infringing the ’437

       patent is Teradata Database.72




                                                                     73



       25.       I understand that a benefit of the claimed technology of the ’437 patent is that “one or

       more data dictionary caches are provided within the application layer for storing frequently used

       system information from the data dictionary. Software in the application layer may receive, from

       a client, a request for system information. If one of the application layer’s data dictionary caches

       includes the requested system information, that information is (quickly) accessed in the data

       dictionary cache and provided back to the client. Otherwise, the requested system information is

       (more slowly) obtained from a data dictionary at the data access layer, put in a newly created

       data dictionary cache, and provided back to the client.”74 The claimed technology is considered




       70
            SAP SE’s Narrowed Set of Patent Claims, December 15, 2020, p. 1; Maier Report, ¶ 310.
       71
            Maier Report, ¶ 303.
       72
            Maier Report, ¶ 318; Counterclaim-Plaintiff SAP SE’s Disclosures Pursuant to Patent L.R. 3-1 and 3-2, August
            19, 2019, Patent L.R. 3-1(b) Disclosures – Infringing Instrumentalities, pp. 1-3; SAP SE’s Supplement to Patent
            L.R. 3-8 Damages Contentions, October 12, 2020, p. 5; Defendants’ First Supplemental Responses and
            Objections to Plaintiffs’ Seventh Set of Interrogatories (No. 51), October 29, 2020, Response to Interrogatory
            No. 51, p. 8; Defendants’ Second Supplemental Responses and Objections to Plaintiffs’ Seventh Set of
            Interrogatories (No. 51), February 12, 2021, Response to Interrogatory No. 51, p. 8.
       73
            Defendants’ Second Supplemental Responses and Objections to Plaintiffs’ Seventh Set of Interrogatories (No.
            51), February 12, 2021, Response to Interrogatory No. 51, p. 8; Maier Report, ¶¶ 324-331.
       74
            Maier Report, ¶ 309.




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       one of the “building blocks of parallelism in Teradata Database,” 75 essential to the system’s

       architecture; Teradata Database claims, among other benefits, improved performance with

       minimal overhead as a result of its parallelism.76

                     d.       The ’179 Patent

       26.       The ’179 patent was issued on November 10, 2009 from U.S. Patent Application No.

       10/835,230, filed on April 28, 2004, and the assignee was iAnywhere Solutions, Inc. 77 I

       understand that the priority date for the ’179 patent is April 28, 2004.78 The ’179 patent is titled,

       “System and methodology for cost-based subquery optimization using a left-deep tree join

       enumeration algorithm,” and is described in the Abstract to the patent as follows:

                 A system providing methodology for cost-based enumeration of subqueries using
                 a left-deep tree join enumeration algorithm is described. In one embodiment, for
                 example, in a database system, a method of the present invention is described for
                 optimizing a database query, the method comprises steps of: receiving a database
                 query including at least one subquery; building a query optimization graph for
                 each query block of the database query, the query optimization graph including
                 plan nodes representing subqueries of each query block; generating a set of access
                 methods and join methods for each plan node, including generating at least one
                 access method for a subquery quantifier based on subquery type and semantic
                 properties of the database query; determining an optimal access plan for each
                 query block based upon selecting access methods, join methods, and join order for
                 plan nodes of the query optimization graph having favorable execution costs; and
                 constructing a detailed access plan for execution of the database query based upon
                 the optimal access plan determined for each query block. 79




       75
            SAP_04691633 at 634-635.
       76
            TD00558114 at 116.
       77
            U.S. Patent No. 7,617,179.
       78
            Counterclaim-Plaintiff SAP SE’s Disclosures Pursuant to Patent L.R. 3-1 and 3-2, August 19, 2019, Patent L.R.
            3-1(f) Disclosures – Priority Dates, p. 6.
       79
            U.S. Patent No. 7,617,179.




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       I understand that the ’179 patent is set to expire on April 14, 2026. 80


       27.       I understand that on April 28, 2004 the inventor of the ’179 patent assigned their rights in

       U.S. Patent Application No. 10/835,230, which eventually issued as the ’179 patent, to Sybase,

       Inc. (“Sybase”).81 I further understand that on December 11, 2008 Sybase assigned its rights in

       the same patent application to iAnywhere Solutions, Inc. (“iAnywhere”). 82                             U.S. Patent

       Application No. 10/835,230 issued as the ’179 patent on November 10, 2009. 83 In May 2010, I

       understand that SAP America, Inc. (“SAP America”) acquired Sybase including the ’179 patent,

       and in December 2015, Sybase merged with iAnywhere. 84 Finally, I understand that on April 29,

       2019, Sybase (on behalf of iAnywhere) assigned its rights in the ’179 patent to SAP. 85

       28.       The asserted claims of the ’179 patent include claims 1, 6, 13, 16, 18, 22, and 23. 86 I

       understand that the claimed technology of the ’179 patent generally relates to “finding optimal

       ways to execute queries within databases.”87 The Teradata product accused of infringing the

       ’179 patent is Teradata Database.88 I understand that the ’179 patent’s accused functionality is



       80
            U.S. Patent No. 7,617,179; “US7617179B2 – Systems and methodology for cost-based subquery optimization
            using a left-deep tree join enumeration algorithm,” Google Patents, March 27, 2021,
            https://patents.google.com/patent/US7617179B2.
       81
            SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 8.
       82
            SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 8.
       83
            SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 8; U.S. Patent No. 7,617,179.
       84
            SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 8.
       85
            SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 8.
       86
            SAP SE’s Narrowed Set of Patent Claims, December 15, 2020, p. 1; Maier Report, ¶ 461.
       87
            Maier Report, ¶ 427.
       88
            Maier Report, ¶ 474; Counterclaim-Plaintiff SAP SE’s Disclosures Pursuant to Patent L.R. 3-1 and 3-2, August
            19, 2019, Patent L.R. 3-1(b) Disclosures – Infringing Instrumentalities, pp. 1-3; SAP SE’s Supplement to Patent
            L.R. 3-8 Damages Contentions, October 12, 2020, pp. 5-6; Defendants’ First Supplemental Responses and
            Objections to Plaintiffs’ Seventh Set of Interrogatories (No. 51), October 29, 2020, Response to Interrogatory
            No. 51, pp. 8-9; Defendants’ Second Supplemental Responses and Objections to Plaintiffs’ Seventh Set of
            Interrogatories (No. 51), February 12, 2021, Response to Interrogatory No. 51, pp. 8-9.




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       “the ‘Incremental Planning and Execution’ feature of the Teradata Optimizer of Teradata

       Database.” 89




       29.




       89
            Defendants’ Second Supplemental Responses and Objections to Plaintiffs’ Seventh Set of Interrogatories (No.
            51), February 12, 2021, Response to Interrogatory No. 51, p. 9.
       90
            Maier Report, ¶ 489.




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                 3.      SAP Patent-Practicing Products

       30.       I understand that SAP’s products that incorporate some of the claimed technologies of the

       SAP patents-in-suit (referred to as “the SAP Patent-Practicing Products”) include the following:

            SAP’s HANA implements the technologies of certain claims of the ’421 patent. 95 “SAP
             HANA is a column-oriented in-memory database that runs advanced analytics alongside
             high-speed transactions – in a single system…[HANA] lets companies process massive
             amounts of data with near zero latency, query data in an instant, and become truly data
             driven. By storing data in column-based tables in main memory and bringing online
             analytical processing (OLAP) and online transactional processing (OLTP) together, SAP
             HANA is unique – and significantly faster than other database management systems (DBMS)
             on the market today.”96
             “In addition to acting as a database server, storing and retrieving data requested by
             applications, SAP HANA offers advanced search, analytics, and data integration capabilities
             for all types of data – structured and unstructured. It also functions as an application server
             and helps companies build smart, insight-driven applications based on real-time data, in-
             memory computing, and machine learning technology. These capabilities are available both
             in the cloud, and on-premise.”97


       91
            Maier Report, ¶ 491.
       92
            TD00500555 at 565.
       93
            TD00500555 at 558.
       94
            TD00500555 at 565, 572, 610, 613; TD00558114 at 120.
       95
            Deposition 30(b)(6) of Franz Faerber, January 21, 2012, pp. 15-16; Deposition 30(b)(1) of Franz Faerber,
            January 21, 2021, pp. 12-15; U.S. Patent No. 9,626,421, col. 14:51-55, 19:34-51, 20:31-39.
       96
            “What is SAP HANA?,” at https://www.sap.com/products/hana/what-is-sap-hana.html?btp=195ae8c5-1dbf-
            4918-9849-96d6114ff962#overview.
       97
            “What is SAP HANA?,” at https://www.sap.com/products/hana/what-is-sap-hana.html?btp=195ae8c5-1dbf-
            4918-9849-96d6114ff962#overview.




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            SAP’s Business Warehouse (“BW”) implements the technologies of certain claims of the
             ’421 patent.98 “In SAP BW, you can integrate, transform, and consolidate relevant business
             information from productive SAP applications and external data sources. SAP BW provides
             you with a high-performance infrastructure that helps you evaluate and interpret data.
             Decision makers can make well-founded decisions and identify target-orientated activities on
             the basis of the analyzed data.”99
            SAP’s Business ByDesign implements the technologies of certain claims of the ’421
             patent.100 SAP Business ByDesign is a “single cloud ERP solution for fast-growing, mid-
             market businesses to scale and compete without the complexity and cost.” 101 It connects
             every company function, including finance, customer relationship management, human
             resources, project management, procurement, and supply chain management, and provides
             industry-specific functionality.102
            Sybase Adaptive Server R. Anywhere (“ASA”) / SAP SQL Anywhere, Versions 9 and
             higher, implement the technologies of certain claims of the ’179 patent. 103 SAP SQL
             Anywhere “[e]nable[s] secure, reliable data management for servers where no DBA is
             available and synchronization for tens of thousands of mobile devices, Internet of Things
             (IoT) systems, and remote environments.” 104


             B.        Teradata

                  1.        Relevant Teradata Entities

                       a.      Teradata Corporation

       31.        Teradata Corporation, referred to as Teradata Corp throughout this report, is the global

       headquarters of Teradata, and through itself and subsidiaries conducts R&D, engineering, and



       98
             Deposition 30(b)(6) of Franz Faerber, January 21, 2012, pp. 15-16; Deposition 30(b)(1) of Franz Faerber,
             January 21, 2021, pp. 12-15; U.S. Patent No. 9,626,421, col. 14:51-55, 19:34-51, 20:31-39.
       99
             “SAP Business Warehouse,” at https://help.sap.com/doc/saphelp_nw74/7.4.16/en-
             us/b2/e50138fede083de10000009b38f8cf/content.htm?no_cache=true.
       100
             Deposition 30(b)(6) of Franz Faerber, January 21, 2012, pp. 15-16; Deposition 30(b)(1) of Franz Faerber,
             January 21, 2021, pp. 12-15; U.S. Patent No. 9,626,421, col. 14:51-55, 19:34-51.
       101
             “SAP Business ByDesign,” at https://www.sap.com/products/business-bydesign.html?btp=195ae8c5-1dbf-4918-
             9849-96d6114ff962.
       102
             “SAP Business ByDesign Features,” at https://www.sap.com/products/business-
             bydesign/features html?btp=195ae8c5-1dbf-4918-9849-96d6114ff962.
       103
             Counterclaim-Plaintiff SAP SE’s Disclosures Pursuant to Patent L.R. 3-1 and 3-2, August 19, 2019, Patent L.R.
             3-1(f) Disclosures – Priority Dates, p. 6; U.S. Patent No. 7,617,179, col. 11:61-63, 12:39-43.
       104
             “SAP SQL Anywhere,” at https://www.sap.com/products/sql-anywhere html?btp=195ae8c5-1dbf-4918-9849-
             96d6114ff962.




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       other technical operations pertaining to Teradata’s Enterprise Data Analytics and Warehousing

       (“EDAW”) products.105

       32.        Teradata was founded in 1979 and “is a leading hybrid cloud analytics software provider

       focused on helping companies leverage all of their data across an enterprise to uncover real-time

       intelligence, at scale.” 106 Teradata has evolved “from an enterprise database company to an

       enterprise analytics platform provider helping our customers integrate and simplify their

       analytics ecosystem, access and manage data, and use analytics to extract answers and derive

       business value from data.”107 Teradata’s business solution is focused around Teradata Vantage.

                  Our solution, Teradata Vantage™, is our data warehouse and analytics platform
                  that allows companies to leverage all of their data across an enterprise, whether on
                  premises, in public or private clouds, or in a hybrid environment. It connects
                  multiple sources of data for ecosystem simplification and delivers massive scale
                  and integration. Vantage is an extremely scalable, secure, highly concurrent and
                  resilient analytics platform that addresses the challenges faced by our target
                  market of the largest companies by offering full integration of their datasets, tools,
                  analytics languages, functions, and engines in one platform, enabling them to
                  reduce complexity, risk, and costs. Vantage incorporates leading commercial and
                  open source technologies including our market-leading integrated data warehouse
                  engine and analytic engines. Vantage is available in public and private clouds, as
                  well as on-premises, providing our customers with flexibility and choice to de-
                  risk their investments. Teradata has also made it easier for customers to work with
                  the Company and purchase Teradata’s solutions via subscription-based
                  transactions.108


       Teradata’s combined solution includes software, hardware, support and maintenance services,

       and business consulting services, which “include a broad range of offerings, including consulting

       to help organizations establish an analytic vision, identify and operationalize analytical



       105
             Teradata’s Second Amended Complaint, p. 2.
       106
             Teradata Corporation Form 10-K for the fiscal year ended December 31, 2019 (“Teradata 2019 10-K”), pp. 4-5.
       107
             Teradata 2019 10-K, p. 4.
       108
             Teradata 2019 10-K, p. 5.




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       opportunities, enable an analytical ecosystem architecture, and ensure their analytical

       infrastructure delivers value.”109

                       b.      Teradata Operations, Inc.

       33.        Teradata Operations, Inc., referred to as Teradata Ops throughout this report, is a wholly-

       owned subsidiary of Teradata Corp and is responsible for Teradata’s business operations in the

       U.S., which includes product development and sales. 110 I understand that “[s]ome employees of

       Teradata Operations, Inc. have used, sold, offered for sale, demonstrated, or assisted others in

       using Teradata Database at least once between May 21, 2019 and the date of this response. ”111

                  2.        Teradata Accused Products

                       a.      Teradata Products Accused of Infringing the Asserted Claims of the SAP
                               Patents-In-Suit

       34.        Teradata’s products that are accused of infringing the asserted claims of the SAP patents-

       in-suit (referred to as the “Teradata Accused Products”) include the following:

            The ’421 Patent
             o Teradata Database: The accused versions of Teradata Database include Teradata
               Database Version 14.10, released in May 2013, and higher, which include Versions 15.0,
               15.10, 16.00, 16.10, 16.20, 17.00, and 17.05. 112 Teradata Database is a “high-


       109
             Teradata 2019 10-K, p. 5.
       110
             Teradata’s Second Amended Complaint, p. 2; Plaintiffs Teradata Corporation, Teradata US, Inc., and Teradata
             Operations, Inc.’s Responses to Defendants’ Seventh Set of Interrogatories (Nos. 50-53), February 11, 2021,
             Response to Interrogatory No. 51, p. 5.
       111
             Plaintiffs Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Responses to Defendants’
             Seventh Set of Interrogatories (Nos. 50-53), February 11, 2021, Response to Interrogatory No. 51, p. 5.
       112
             Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Responses to Defendants’ Fourth Set
             of Interrogatories (Nos. 29-41), April 6, 2020, Response to Interrogatory No. 36, p. 21; Plaintiffs Teradata
             Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Sixth Supplemental and Amended Responses to
             Defendants’ Fourth Set of Interrogatories (Nos. 30, 35-38, 40), February 12, 2021, First Supplemental and
             Amended Response to Interrogatory No. 36, pp. 12-13; Plaintiffs Teradata Corporation, Teradata US, Inc., and
             Teradata Operations, Inc.’s Eighth Supplemental and Amended Responses to Defendants’ Third Set of
             Interrogatories (Nos. 19, 21, 22, 23, 26, 27), February 12, 2021, First Supplemental and Amended Response to
             Interrogatory No. 19, p. 6.




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                  performance decision-support engine, available in the widest array of deployment
                  options, [that] offers you a full suite of data access and management tools, plus world-
                  class services based on Teradata’s years of data warehouse experience.” 113 “Teradata
                  Database is designed for decision support and parallel implementation…[and] supports
                  hundreds of installations, from three terabytes to huge warehouses with petabytes (PB) of
                  data and thousands of users.”114
             o Related Teradata Database Products, which include other Teradata offerings that have the
               accused functionality from Teradata Database, include the following:
                     Teradata Vantage (“TD Vantage”): Teradata Database has evolved to become
                      Teradata Vantage Advanced SQL Engine, referred to as TD Vantage. TD Vantage
                      1.0 was released in September 2018, and subsequent versions of Teradata Vantage
                      include Versions 1.1, 1.3, 2.0, 2.1, and 2.2. 115 TD Vantage is “a flexible analytic
                      engine in a scalable, manageable database. Teradata Vantage enables businesses to
                      obtain answers quickly as data volumes grow faster than ever before. Vantage uses
                      available data to uncover real-time business intelligence at scale, allowing businesses
                      to see data from across the entire organization in one place.” 116
                     Teradata IntelliFlex (“TD IntelliFlex”): TD IntelliFlex is “the purpose-built hardware
                      platform for demanding data analytics” and “[d]esigned specifically for scalable
                      enterprise analytics, Teradata IntelliFlex uses revolutionary MPP architecture and
                      self-service software controls for independent scaling of processing power and data
                      capacity.” 117 The TD IntelliFlex “hardware platform and Teradata Vantage, the
                      platform for pervasive data intelligence— together compose a totally integrated,
                      scalable solution to manage all the relevant data, all the time, and deliver analytics
                      that matter. Vantage combines in a single platform descriptive, predictive,


       113
             “Teradata Database: High-Performance Analytics for Today’s Business,” at
             https://assets.teradata.com/resourceCenter/downloads/Datasheets/EB9660.pdf.
       114
             “Teradata Database: High-Performance Analytics for Today’s Business,” at
             https://assets.teradata.com/resourceCenter/downloads/Datasheets/EB9660.pdf.
       115
             Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Responses to Defendants’ Fourth Set
             of Interrogatories (Nos. 29-41), April 6, 2020, Response to Interrogatory No. 36, p. 21; Plaintiffs Teradata
             Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Sixth Supplemental and Amended Responses to
             Defendants’ Fourth Set of Interrogatories (Nos. 30, 35-38, 40), February 12, 2021, First Supplemental and
             Amended Response to Interrogatory No. 36, pp. 12-13; Plaintiffs Teradata Corporation, Teradata US, Inc., and
             Teradata Operations, Inc.’s Eighth Supplemental and Amended Responses to Defendants’ Third Set of
             Interrogatories (Nos. 19, 21, 22, 23, 26, 27), February 12, 2021, First Supplemental and Amended Response to
             Interrogatory No. 19, p. 6.
       116
             Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Supplemental Responses to
             Defendants’ Third Set of Interrogatories, April 24, 2020, Supplemental Response to Interrogatory No. 28, p. 8;
             Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Responses to Defendants’ Fourth Set
             of Interrogatories (Nos. 29-41), April 6, 2020, Response to Interrogatory No. 36, p. 21; Plaintiffs Teradata
             Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Sixth Supplemental and Amended Responses to
             Defendants’ Fourth Set of Interrogatories, February 12, 2021, First Supplemental and Amended Response to
             Interrogatory No. 36, pp. 12-13.
       117
             “Teradata IntelliFlex,” at https://www.teradata.com/Products/Hardware/IntelliFlex.




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                      prescriptive analytics, machine learning, and graph analytic functions; and IntelliFlex
                      is the most powerful, scalable, and robust hardware platform for running Vantage.” 118
                     Teradata IntelliBase (“TD IntelliBase”): TD IntelliBase “is a compact environment
                      for data warehousing and low-cost data storage” that “enables a mixture of Teradata
                      and other application nodes to meet workload requirements – all installed into one
                      cabinet to preserve valuable data center floor space.” 119 TD IntelliBase capabilities
                      include “[a] truly hybrid architecture that includes the Teradata SQL Engine, Hadoop,
                      and Teradata IntelliSphere for a complete analytics solution in a data center-friendly
                      single cabinet footprint, all running on proven, robust, enterprise-class Teradata
                      hardware.”120
                     Teradata Cloud (“TD Cloud”): TD Cloud is Teradata Database and Teradata Vantage
                      provided as-a-service on Teradata hardware where “Teradata manages the
                      performance, security, availability, and operations of customers’ analytics
                      infrastructure. Internal teams can focus on answers, not IT. Teradata handles the
                      details – software patches, version upgrades, performance reporting, and ticket
                      resolution – so customers can manage their business.” 121
                     Teradata IntelliCloud (“TD IntelliCloud”) and Teradata IntelliCloud – Vantage (“TD
                      IntelliCloud Vantage”): TD IntelliCloud “builds on what was available with Teradata
                      Managed Cloud and expands customers’ hybrid cloud options. The result is more
                      choice, greater dexterity, and the ability for customers to increase their focus on
                      extracting and applying analytic insights rather than on managing infrastructure.”122
                      TD IntelliCloud services include “[b]undled infrastructure services including platform
                      deployment and management, onboarding assistance, backup and restore, system
                      monitoring, upgrades and maintenance, enterprise-class security, and premier cloud
                      support.” 123
             o TD Columnar: TD Columnar “is an enhancement that offers the ability to store the data
               in a table by column, instead of by row. In its simplest form, each column in the table
               becomes its own partition. The benefit of Columnar is faster execution time for queries
               that access a subset of a table’s columns, because less data will have to read from the
               database. Columnar can reduce the physical I/O required to read the table.” 124



       118
             “Teradata IntelliFlexTM,” at https://assets.teradata.com/resourceCenter/downloads/Datasheets/EB10002.pdf.
       119
             “Teradata IntelliBase,” at https://www.teradata.com/Products/Hardware/IntelliBase.
       120
             “Teradata IntelliBaseTM,” at
             https://assets.teradata.com/resourceCenter/downloads/Datasheets/EB10243_IntelliBase_2.0_11.5.2018.pdf.
       121
             “Teradata Vantage on Teradata Cloud,” at https://www.teradata.com/Cloud/Teradata-Cloud.
       122
             “Introducing Teradata IntelliCloud: Our Next Generation Managed Cloud,” at
             https://www.teradata.com/Blogs/Introducing-Teradata-IntelliCloud-Our-Next-Generation-Managed-Cloud.
       123
             “Introducing Teradata IntelliCloud: Our Next Generation Managed Cloud,” at
             https://www.teradata.com/Blogs/Introducing-Teradata-IntelliCloud-Our-Next-Generation-Managed-Cloud.
       124
             Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Supplemental Responses to
             Defendants’ Third Set of Interrogatories, April 24, 2020, Supplemental Response to Interrogatory No. 28, pp.



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             o TIM: TIM “speeds data warehouse query performance and maximize the value of the
               system memory by ensuring that the most frequently used data is kept in memory. It is
               Teradata’s latest innovation in its comprehensive, system-level approach to
               multitemperature data management. Available on all members of the Teradata workload
               specific platform family, Teradata Intelligent Memory is the only memory technology
               that automatically and transparently puts the hottest, most frequently used data in
               memory.”125
             o I understand that Teradata infringes the asserted claims of the ’421 patent when installing
               or using any of the above accused software on Teradata’s customer’s computers, or via
               Teradata’s own computers (e.g., Teradata cloud server). I understand that Teradata also
               infringes when it sells or offers to sell the above accused software, even if the accused
               feature (e.g., TD Columnar) is not enabled at the time.
             o I also understand that Teradata customers use the accused features and methods of the
               asserted claims of the ’421 patent, based in part on Teradata’s support, help, and
               recommendations.
            The ’321 Patent
             o Teradata Database
             o Related Teradata Database Products
             o TAS/EAS: The first accused version of TAS, Version 2.2.1, was released in September
               2014, and subsequent accused versions of TAS include Versions 2.2.2, 2.2.3, 2.3, 2.4,
               3.0, and 3.0.4 and TAS for Oracle EBS 4.0. 126 In 2017, TAS was renamed EAS.127 The
               first accused version of EAS, EAS Server 1.00.00, was released in October 2016, and
               subsequent accused versions of EAS Server include Versions 1.0.1, 1.0.2, 1.0.3, 1.0.4,
               1.0.5, and 1.0.6, and accused versions of EAS include Versions 4.1, 4.2, 4.3, 4.4, and
               4.5. 128 TAS/EAS “offers customers a way to simplify the integration of data from


             11-12; “Vantage: How to Enjoy Hybrid Partitioning with Teradata Columnar,” at
             https://www.teradata.com/Blogs/How-to-Enjoy-Hybrid-Partitioning-with-Teradata-Columnar.
       125
             “Teradata Intelligent Memory” at
             https://assets.teradata.com/resourceCenter/downloads/WhitePapers/EB7614.pdf.pdf.
       126
             Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Responses to Defendants’ Fourth Set
             of Interrogatories (Nos. 29-41), April 6, 2020, Response to Interrogatory No. 36, pp. 21-22; Plaintiffs Teradata
             Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Sixth Supplemental and Amended Responses to
             Defendants’ Fourth Set of Interrogatories (Nos. 30, 35-38, 40), February 12, 2021, First Supplemental and
             Amended Response to Interrogatory No. 36, p. 13; Plaintiffs Teradata Corporation, Teradata US, Inc., and
             Teradata Operations, Inc.’s Eighth Supplemental and Amended Responses to Defendants’ Third Set of
             Interrogatories (Nos. 19, 21, 22, 23, 26, 27), February 12, 2021, First Supplemental and Amended Response to
             Interrogatory No. 19, p. 6.
       127
             Plaintiff Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Responses to Defendants’
             Third Set of Requests for Admission (Nos. 269-841), February 12, 2021, Request for Admission No. 369, p. 34.
       128
             Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Responses to Defendants’ Fourth Set
             of Interrogatories (Nos. 29-41), April 6, 2020, Response to Interrogatory No. 36, p. 22; Plaintiffs Teradata
             Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Sixth Supplemental and Amended Responses to
             Defendants’ Fourth Set of Interrogatories (Nos. 30, 35-38, 40), February 12, 2021, First Supplemental and



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                  enterprise applications into a Teradata Integrated Data Warehouse to facilitate reporting,
                  business intelligence, and business analytics. As a pre-built packaged solution, EAS
                  reconciles overlapping data to provide a single view of enterprise ERP data.” 129
             o I understand that Teradata infringes the asserted claims of the ’321 patent when installing
               or using any of the above accused software on Teradata’s customer’s computers, or via
               Teradata’s own computers (e.g., Teradata cloud server). I understand that Teradata also
               infringes when it sells or offers to sell the above accused software, even if the accused
               functionality is not enabled at the time.
             o I also understand that Teradata customers use the accused features and methods of the
               asserted claims of the ’321 patent, based in part on Teradata’s support, help, and
               recommendations.
            The ’437 Patent
             o Teradata Database
             o Related Teradata Database Products
             o I understand that Teradata infringes the asserted claims of the ’437 patent when installing
               or using any of the above accused software on Teradata’s customer’s computers, or via
               Teradata’s own computers (e.g., Teradata cloud server). I understand that Teradata also
               infringes when it sells or offers to sell the above accused software, even if the accused
               functionality is not enabled at the time.
             o I also understand that Teradata customers use the accused features and methods of the
               asserted claims of the ’437 patent, based in part on Teradata’s support, help, and
               recommendations.
            The ’179 Patent
             o Teradata Database
             o Related Teradata Database Products
             o I understand that Teradata infringes the asserted claims of the ’179 patent when installing
               or using any of the above accused software on Teradata’s customer’s computers, or via
               Teradata’s own computers (e.g., Teradata cloud server). I understand that Teradata also
               infringes when it sells or offers to sell the above accused software, even if the accused
               functionality is not enabled at the time.
             o I also understand that Teradata customers use the accused features and methods of the
               asserted claims of the ’179 patent, based in part on Teradata’s support, help, and
               recommendations.


             Amended Response to Interrogatory No. 36, pp. 13-14; Plaintiffs Teradata Corporation, Teradata US, Inc., and
             Teradata Operations, Inc.’s Eight Supplemental and Amended Responses to Defendants’ Third Set of
             Interrogatories (Nos. 19, 21, 22, 23, 26, 27), February 12, 2021, First Supplemental and Amended Response to
             Interrogatory No. 19, p. 6.
       129
             Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Supplemental Responses to
             Defendants’ Third Set of Interrogatories, April 24, 2020, Supplemental Response to Interrogatory No. 28, p. 9.




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                   b.      Teradata Accused Products Revenues and Profits

       36.




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       141
             Letter from James R. Hancock to Joshua L. Fuchs, dated February 25, 2021, re “Letter dated February 19,
             2021,” (“February 25, 2021 letter from James R. Hancock to Joshua L. Fuchs”) answer to Question 36, pp. 5-6.
       142
             February 25, 2021 letter from James R. Hancock to Joshua L. Fuchs, answer to Question 35, pp. 4-5.
       143
             February 25, 2021 letter from James R. Hancock to Joshua L. Fuchs, answer to Question 1f), p. 3.
       144
             Letter from James R. Hancock to Joshua L. Fuchs, dated February 9, 2021, re “Letter dated January 25, 2021
             and email dated February 3, 2021,” (“February 9, 2021 letter from James R. Hancock to Joshua L. Fuchs”)
             answer to Question 14, p. 6.




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       37.        Total revenue for the Teradata Accused Products accused of infringing the ’421 patent
                                                                                146
       from April 18, 2017 through Q3 2020 were                                       Total revenue for the Teradata

       Accused Products accused of infringing the ’321 patent from September 1, 2014 through Q3
                                       147
       2020 were                             Total revenue for the Teradata Accused Products accused of
                                                                                                                 148
       infringing the ’437 patent from July 10, 2013 through Q3 2020 were                                               Total

       revenue for the Teradata Accused Products accused of infringing the ’179 patent from July 10,




       145
             Plaintiffs Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Sixth Supplemental and
             Amended Responses to Defendants’ Fourth Set of Interrogatories, February 12, 2021, First Supplemental and
             Amended Response to Interrogatory No. 36, p. 13; Plaintiffs Teradata Corporation, Teradata US, Inc., and
             Teradata Operations, Inc.’s Eighth Supplemental and Amended Responses to Defendants’ Third Set of
             Interrogatories (Nos. 19, 21, 22, 23, 26, 27), February 12, 2021, First Supplemental and Amended Response to
             Interrogatory No. 19, p. 6.
       146
             Exhibit 6a. Total revenue for the Teradata Accused Products accused of infringing the ’421 patent from May 21,
             2019 through Q3 2020 were                  . See Exhibit 6a.
       147
             Exhibit 6a. Total revenue for the Teradata Accused Products accused of infringing the ’321 patent from May 21,
             2019 through Q3 2020 were                  . See Exhibit 6a.
       148
             Exhibit 6a. Total revenue for the Teradata Accused Products accused of infringing the ’437 patent from May 21,
             2019 through Q3 2020 were                  . See Exhibit 6a.




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                                                            149
       2013 through Q3 2020 were                                  I use these accused revenues to calculate damages

       for Damages Scenario 1, as discussed throughout the remainder of this report. 150

       38.




       149
             Exhibit 6a. Total revenue for the Teradata Accused Products accused of infringing the ’179 patent from May 21,
             2019 through Q3 2020 were                  . See Exhibit 6a.
       150
             Under Damages Scenario 2, I have been asked by counsel for SAP to include revenues identified as associated
             with transactions in Teradata’s Sales Data that have a non-U.S. Country Code or Country Name (which I refer to
             for convenience as “non-U.S. revenues”) in my calculation of accused revenues for the Teradata Accused
             Products. I have included these “non-U.S. revenues” for informational purposes and do not express an opinion
             here as to whether the legal requirements for their inclusion in a damages calculation are satisfied. See Exhibit
             6d for my calculation of accused revenues for the Teradata Accused Products for Damages Scenario 2.
       151
             TD00453377 at 409; TD02483960 at 989; TD13385100 at 128. See also February 25, 2021 letter from James R.
             Hancock to Joshua L. Fuchs, answer to Question 34b), p. 4.
       152
             February 25, 2021 letter from James R. Hancock to Joshua L. Fuchs, answer to Question 34b, p. 4; Plaintiff
             Teradata Corporation, Teradata US, Inc., and Teradata Operations, Inc.’s Responses to Defendants’ Third Set of
             Requests for Admission (Nos. 269-841), February 12, 2021, Request for Admission No. 357, p. 30




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       I use these Estimated TD Columnar revenues to calculate damages for Damages Scenario 1. 154

       39.        After calculating the accused revenue for the Teradata Accused Products, I calculated the

       local cost of revenue, standard margin, corporate cost of revenue, gross profit, operating

       expenses, and operating profit for these products



                                      .155 My calculation of the costs and profits associated with the Teradata

       Accused Products relies on the following methodology:




       153
             Exhibit 7c. For the period from May 21, 2019 through Q3 2020 total estimated TD Columnar revenues are
                         . See Exhibit 7c.
       154
             See Exhibit 7c for my calculation of Estimated TD Columnar revenues for Damages Scenario 2.
       155




       156




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       157




       158




       159




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       Total operating profit for the Teradata Accused Products accused of infringing the ’421 patent
                                                                                                   160
       from April 18, 2017 through Q3 2020 was                                                           Total operating

       profit for the Teradata Accused Products accused of infringing the ’321 patent from September
                                                                                       161
       1, 2014 through Q3 2020 was                                                           Total operating profit for

       the Teradata Accused Products accused of infringing the ’437 patent from July 10, 2013 through
                                                                       162
       Q3 2020 was                                                           Total operating profit for the Teradata

       Accused Products accused of infringing the ’179 patent from July 10, 2013 through Q3 2020 was
                                                  163
                                                        I use these accused operating profits to calculate damages

       for Damages Scenario 1.164

                      c.       Expected Teradata Accused Products Revenues and Profits

       40.




                                                                                                           As a result, I




       160
             Exhibits 6a and 6b. Total operating profit for the Teradata Accused Products accused of infringing the ’421
             patent from May 21, 2019 through Q3 2020 was                                    See Exhibits 6a and 6b.
       161
             Exhibits 6a and 6b. Total operating profit for the Teradata Accused Products accused of infringing the ’321
             patent from May 21, 2019 through Q3 2020 was                                    See Exhibits 6a and 6b.
       162
             Exhibits 6a and 6b. Total operating profit for the Teradata Accused Products accused of infringing the ’437
             patent from May 21, 2019 through Q3 2020 was                                    See Exhibits 6a and 6b.
       163
             Exhibits 6a and 6b. Total operating profit for the Teradata Accused Products accused of infringing the ’179
             patent from May 21, 2019 through Q3 2020 was                                    See Exhibits 6a and 6b.
       164
             See Exhibits 6d and 6e for my calculation of accused operating profits for the Teradata Accused Products for
             Damages Scenario 2.
       165
             Deposition 30(b)(6) of Peter Wetzel, February 26, 2021, pp. 44-45.




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       have constructed the expected revenues and profits for the Teradata Accused Products as of the

       May 2013, September 2014, and April 2017 dates of first infringement to use in my calculation

       of damages under both my Comparable License Approach and Profit Apportionment Approach

       described in detail below.

       41.        To construct the expected revenues and profits for the Teradata Accused Products as of

       the May 2013 date of first infringement for the ’437 and ’179 patents,




       166




       167
             Exhibit 8a.
       168
             Exhibit 5a.

                                                                   See Exhibit 8b.




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       42.        To construct the expected revenues and profits for the Teradata Accused Products as of

       the September 2014 date of first infringement for the ’321 patent,




       169
             Exhibit 8a.
       170
             Exhibit 5a.


             See Exhibit 8b.
       171
             Exhibit 8a.
       172
             Exhibit 5a.

                                                                   See Exhibit 8c.
       173
             Exhibit 8a.




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       43.        To construct the expected revenues and profits for the Teradata Accused Products as of

       the April 2017 date of first infringement for the ’421 patent,




       174
             Exhibit 5a.


             See Exhibit 8c.
       175




       176
             Exhibit 5a.
       177
             Exhibit 8a.
       178
             Exhibit 8a.



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       44.        I use these expected accused revenues, operating profit margins, and operating profits to

       calculate damages for Damages Scenario 1.180


       V.         OVERVIEW OF THE ECONOMIC DAMAGES FRAMEWORK
       45.        I understand that damages in patent infringement cases are governed by 35 U.S.C. § 284,

       which states: “Upon finding for the claimant the court shall award the claimant damages

       adequate to compensate for the infringement but in no event less than a reasonable royalty for the

       use made of the invention by the infringer…” If the infringement has caused the patent owner to

       lose profits, and these lost profits exceed the reasonable royalty, I understand that the patent

       owner is entitled to recover the lost profits. In some cases, the damages may combine the lost

       profits associated with a portion of the infringing sales that caused those lost profits, and a

       reasonable royalty on the remainder of the infringing sales.

       46.        I understand that SAP is not claiming lost profits due to Teradata’s alleged infringement

       of the SAP patents-in-suit 181 and, therefore, my damages analysis in this report focuses

       exclusively on the calculation of reasonable royalty damages resulting from Teradata’s alleged

       infringement of the SAP patents-in-suit. A reasonable royalty is calculated on the defendant’s

       infringing sales, and I understand that the reasonable royalty may, though does not necessarily




       179
             Exhibit 5a.
       180
             See Exhibit 5d, 5e, and 5f for my calculation of expected accused revenues, operating profit margins, and
             operating profits for the Teradata Accused Products for Damages Scenario 2.
       181
             SAP SE’s Patent L.R. 3-8 Damages Contentions, December 20, 2019, p. 4.




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       have to, be analyzed using what are known as the Georgia-Pacific factors.182 A given factor may

       not be relevant in a given case and other information beyond the factors may be relevant for

       determining the reasonable royalty.

       47.        In my view as an economist, a reasonable royalty for the SAP patents-in-suit is one that is

       consistent with the royalty that the patent owner (SAP) and alleged infringer (Teradata) would

       have negotiated at or before the date of Teradata’s first alleged infringement of the SAP patents-

       in-suit. Additionally, from the perspective of an economist, a reasonable royalty should reflect

       the inherent value of the claimed inventions of the SAP patents-in-suit and should not

       incorporate value created by other technologies, assets, or economic factors. A reasonable

       royalty focused on the inherent value of the claimed inventions of the SAP patents-in-suit

       provides a return to the patent owner that, in turn, creates the appropriate incentives to innovate.

       Either undercompensating or overcompensating a patent owner creates an incentive that leads to

       economically inefficient market outcomes that ultimately harm economic welfare.

       48.        The economist’s view of a reasonable royalty as articulated above is consistent with the

       views of the Federal Circuit. The Federal Circuit has stated that the reasonable royalty should be

       “carefully” tied to the “claimed invention’s footprint in the marketplace.” 183 That is to say, the

       reasonable royalty should reflect only the value that the alleged invention creates for the

       defendant or the patent owner, not value created by other economic factors. The Federal Circuit

       has referred to this concept as “apportionment”:                 “the royalty rate for [patents] must be




       182
             Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970).
       183
             Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1317 (Fed. Cir. 2011) (citing ResQNet.com, Inc. v Lansa,
             Inc., 594 F.3d, 869 (Fed. Cir. 2010)).




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       apportioned to the value of the patented invention.”184 Thus, particularly in the context of multi-

       component products such as the Teradata Accused Products, apportionment is required as a legal

       matter to isolate the component to which the patented technology contributed. 185 Furthermore,

       sound economic analysis recognizes the economic reality that many factors contribute to the

       revenue and market success associated with an overall product or process. Those factors include,

       among other things, features covered by other patents, non-patented features, other intellectual

       property (e.g., trade secrets), components and processes, reliability, brand reputation, marketing,

       sales efforts, and manufacturing quality and capability. 186

       49.        To an economist, a useful way to determine the reasonable royalty is to analyze the

       outcome of a hypothetical licensing negotiation between the parties prior to first infringement.

       Such an analysis is also contemplated under Georgia-Pacific Factor 15.                           In analyzing the

       outcome of the hypothetical negotiation, it may be necessary to consider various economic

       factors, many of which relate to the remaining Georgia-Pacific factors.                              For example,

       comparable market transactions, including licenses and acquisitions (and corresponding

       valuations) involving the patents-in-suit (which are considered under Georgia-Pacific Factor 1)




       184
             Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1232 (Fed. Cir. 2014). See also Virnetx, Inc. v. Cisco Sys.,
             Inc., 767 F.3d 1308, 1326 (Fed. Cir. 2014) (citing Garretson v. Clark, 111 U.S. 120, 121 (1884)) (“the
             patentee.. must in every case give evidence tending to separate or apportion the defendant’s profits and the
             patentee’s damages between the patented feature and the unpatented features”).
       185
             LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 68 (Fed Cir. 2012) (“Admission of…overall
             revenues, which have no demonstrated correlation to the value of the patented feature alone, only serve to make
             a patentee’s proffered damages amount appear modest by comparison, and to artificially inflate the jury’s
             damages calculation beyond that which is adequate to compensate for the infringement.”) (internal quotations
             omitted).
       186
             Use of the smallest salable unit as a starting point for the royalty base analysis itself reflects an attempt at
             apportionment to exclude non-accused components, though further apportionment may be necessary.
             LaserDynamics, 694 F.3d at 67-68 (holding that a proper royalty base must apportion out features beyond the
             implicated optical disk drive component). See also Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324
             (Fed. Cir. 2009) (finding that, although Microsoft Outlook was the smallest salable unit, its multiple features
             required the plaintiff to apportion the value of the accused “date picker” function)); AVM Techs., LLC v. Intel



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       and comparable patented technologies (which are considered under Georgia-Pacific Factors 2

       and 12), can provide useful information regarding the outcome of the hypothetical negotiation

       and thus the appropriate reasonable royalty.            Additionally, apportioning for non-accused

       technologies that are incorporated into the accused products, which is considered under Georgia-

       Pacific Factor 13 (and under Georgia-Pacific Factors 1, 2, and 12 when, for example, there is a

       comparable license involving the patent-in-suit or comparable patented technologies that already

       accounts for apportionment of non-accused technologies), ensures that the appropriate

       reasonable royalty is focused on the value of the invention of the patent-in-suit and, thus, does

       not either overstate or understate this value. Furthermore, the availability of acceptable non-

       infringing alternatives to the patents-in-suit, including any design-arounds, which are considered

       under Georgia-Pacific Factors 9, 10, and 11, is important information to consider when

       determining the incremental value of the patented technology and, thus, the appropriate

       reasonable royalty.


       VI.        REASONABLE ROYALTY DAMAGES ANALYSIS

             A.      Hypothetical Negotiations for a Non-Exclusive License to the SAP Patents-
                     in-Suit

       50.        Georgia-Pacific Factor 15 contemplates the outcome of a hypothetical negotiation

       between SAP and Teradata for a non-exclusive license to the SAP patents-in-suit.

       51.        As a legal matter, I understand that the hypothetical negotiation must be assumed to have

       occurred at a date on or before the date of Teradata’s first alleged infringement of the SAP

       patents-in-suit. I understand that the date of first infringement of the ’437 and ’179 patents



          Corp., No. 10-610-RGA, 2013 WL 126233, at **2-3 (D. Del. Jan. 4, 2013) (holding that even the smallest
          salable unit must be apportioned).




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       would have been in May 2013, the release date of the accused Teradata Database Version

       14.10.187 I understand that the date of first infringement of the ’321 patent would have been in

       September 2014, the release date of the accused TAS Version 2.2.1. 188 Finally, I understand that

       the date of first infringement of the ’421 patent would have been on April 18, 2017, the issue

       date of the ’421 patent. 189 As a result, I have been asked to assume that the date of the

       hypothetical negotiation for the ’437 and ’179 patents would have been in May 2013; the date of

       the hypothetical negotiation for the ’321 patent would have been in September 2014; and the

       date of the hypothetical negotiation for the ’421 patent would have been in April 2017.

       52.        At the hypothetical negotiation taking place in May 2013, SAP, as the owner of the ’437

       and ’179 patents, would have been the party negotiating as the licensor. Teradata would have

       been the party negotiating as the licensee. At the hypothetical negotiation taking place in

       September 2014, SAP, as the owner of the ’321 patent, would have been the party negotiating as

       the licensor. Teradata would have been the party negotiating as the licensee. Finally, at the time

       of the hypothetical negotiation taking place in April 2017, SAP, as owner of the ’421 patent,

       would have been the party negotiating as the licensor. Teradata would have been the party

       negotiating as the licensee.

       53.        Under the hypothetical negotiation construct, SAP must be assumed to have been a

       willing licensor and Teradata must be assumed to have been a willing licensee. I further

       understand that, during the hypothetical negotiation, the parties must be assumed to have




       187
             SAP SE’s Supplement to Patent L.R. 3-8 Damages Contentions, October 12, 2020, pp. 5-6.
       188
             SAP SE’s Supplement to Patent L.R. 3-8 Damages Contentions, October 12, 2020, pp. 6-7.
       189
             SAP SE’s Supplement to Patent L.R. 3-8 Damages Contentions, October 12, 2020, p. 6.




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       understood that the asserted claims of the SAP patents-in-suit were valid, enforceable, and

       infringed.

       54.        In the following sections of this report, I analyze the relevant economic evidence that

       informs the reasonable royalty analysis for the SAP patents-in-suit under the hypothetical

       negotiation construct.           My analysis of the relevant economic evidence for determining a

       reasonable royalty is consistent with a Georgia-Pacific factor analysis. 190 Therefore, after

       analyzing this economic evidence in detail, I then address each of the fifteen Georgia-Pacific

       factors (many of which correspond directly to the relevant economic evidence) to determine the

       final reasonable royalty.


             B.        SAP Agreements Involving Licenses to Patents – Georgia-Pacific Factor 12

       55.        Georgia-Pacific Factor 12 considers, among other things, agreements entered by SAP in

       which it has granted licenses or received licenses to patents other than the SAP patents-in-suit.

       Before using a license as a comparable for determining the outcome of the hypothetical

       negotiation, one must assess whether the economic circumstances surrounding the license are

       sufficiently comparable to those surrounding the hypothetical negotiation and, if not, whether

       adjustments can be made to account for any significant dissimilarities.                             If the economic

       circumstances are not comparable and reliable adjustments cannot be made, then the license

       should not be used as a comparable.191




       190
             Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970).
       191
             I note that when using a license or other transaction as a benchmark for the outcome of the hypothetical
             negotiation, it is not necessary that the license or other transaction was entered into prior to the hypothetical
             negotiation. In a benchmark analysis, it is not being posited that the parties to the hypothetical negotiation were
             aware of, and affected by, the benchmark license. Rather, it is being posited that the economic circumstances
             surrounding the benchmark license were similar to the economic circumstances surrounding the hypothetical
             negotiation (or that adjustments could be made to account for any significant differences). This can be the case
             whether the benchmark license was entered into before or after the date of the hypothetical negotiation. For



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       56.        I have reviewed the SAP agreements produced in this matter that have involved, among

       other things, SAP granting or receiving licenses to patents other than the SAP patents-in-suit. A

       summary of the relevant terms and conditions of these SAP agreements is provided in Exhibit

       10a. Based on the opinions of SAP’s technical expert, Professor Wolfson, I understand that the

       July 31, 2009 Patent License and Settlement Agreement between JuxtaComm Technologies,

       Inc., (“JuxtaComm”) and SAP AG (referred to as “SAP” in this agreement), Business Objects

       SA, and Business Objects Americas, Inc. (collectively, referred to as “Business Objects” in the

       agreement) (“JuxtaComm-SAP agreement”) is an agreement that includes a license to a patent

       that is technically comparable to the ’421 and ’321 patents. 192 Additionally, the July 14, 2019

       Patent Sale and Grant-Back License Agreement and Confidential Patent Springing Rights

       Agreement between ServiceNow, Inc. (“ServiceNow”) and SAP SE (referred to as “SAP” in the

       context of these agreements) (collectively, these agreements are referred to as the “SAP-

       ServiceNow agreements”) are agreements that support my reasonable royalty analysis for a

       hypothetical license to the SAP patents-in-suit.                    Below I discuss the relevant terms and

       conditions of the JuxtaComm-SAP agreement and SAP-ServiceNow agreements, and the

       economic analysis that I performed to use these agreements to benchmark the appropriate

       reasonable royalty for a license to the SAP patents-in-suit.




             example, if a license had been signed after the date of the hypothetical negotiation, but no significant changes in
             economic circumstances had occurred in the interim, the license would be a useful benchmark for the outcome of
             the hypothetical negotiation (assuming it met the other criteria of comparability).
       192
             Expert Report of Ouri Wolfson, Ph.D., March 29, 2021 (“Wolfson Report”), Section VII.B.




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                  1.        July 31, 2009 JuxtaComm-SAP Agreement

                       a.      Terms and Conditions

       57.




       193
             SAP_02684682 at 701, 710. I note that SAP is the parent company of both Business Objects entities, Business
             Objects SA and Business Objects Americas, Inc. (SAP_02684682-710 at 682).
       194
             SAP_02684682 at 682.
       195
             SAP_02684682 at 689-691.
       196
             SAP_02684682 at 687.




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       197
             SAP_02684682 at 684.
       198
             SAP_02684682 at 684-685.
       199
             SAP_02684682 at 684.
       200
             SAP_02684682 at 683-685.




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                                                       4




                     b.      Economic Analysis

       59.       The JuxtaComm-SAP agreement is comparable to the hypothetical license between SAP

       and Teradata for several reasons.



                                                                                                   . More

       specifically, I understand according to SAP’s technical expert, Professor Wolfson, that the ’662

       patent and ’321 patent cover comparable technology because “[b]oth the ’321 patent and the

       ’662 patent relate to software, data processing, and computer-implemented databases. More

       specifically, both patents relate to the manipulation of data for use in data management systems,

       such as data warehouses. Both the ’321 and ’662 patents claim improvements to processes for

       manipulating data so that further processing can be performed on the data. Both patents also

       describe the option of user-created definitions. Both patents use metadata for organizing or



       201
             SAP_02684682 at 685.
       202
             SAP_02684682 at 684.
       203
             SAP_02684682 at 688.




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       classification.”205 I further understand that the ’662 patent and ’421 patent cover comparable

       technology because “[b]oth the ’662 patent and ’421 patent relate to software, data processing,

       and computer-implemented databases. More specifically, both patents relate to the manipulation

       of data for use in data management systems, such as data warehouses. Both patents claim

       processes for manipulating data into different formats such that further processing can be

       performed on the data. Additionally, both patents provide an option of user-customization.” 206

       Finally, I understand that while the ’321 and ’421 patented technologies are each technically

       comparable to the ’662 patented technology, both the ’321 and ’421 patented technologies are

       more technically valuable than the ’662 patented technology “in the context of software products

       for manipulating data” including Business Objects Data Integrator and Teradata’s TAS/EAS and

       TD Columnar.207 Regarding the ’321 patent, “while the invention of the ’662 patent taught only

       an improvement to ETL processes known at the time of the invention, the invention taught in the

       ‘321 patent extends beyond ETL and teaches how data can be further classified, mapped, and

       organized after ETL.”208 Regarding the ’421 patent, “[t]he invention in the ‘662 patent mainly

       seeks to improve the range of databases that can work within an ETL process and to a lesser

       degree improve the performance of the ETL process by reducing resources required. While this

       would have value, the value would be mostly associated with the ability to build and reuse ETL

       processes with a broader range of databases. The invention in the ’421 patent seeks to provide a

       new capability for a company who would be running the system described in the patent and




       204
             SAP_02684682 at 691.
       205
             Wolfson Report, ¶ 172.
       206
             Wolfson Report, ¶ 183.
       207
             Wolfson Report, ¶¶ 173, 184.
       208
             Wolfson Report, ¶ 173.




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       avoid ETL processes and redundancies from the ETL procedure. Specifically, the ’421 patent

       can be used to provide up-to-date analysis which would not be possible under a traditional ETL

       system where updates only occurred periodically.”209

       60.




                           .210 “Data Integrator was a data integration and ETL tool offered by Business

       Objects at the time, which allowed customers to extract, transform, and deliver data from one

       database to another, so that processing for business intelligence and other data analytics purposes

       could be performed.”211 The Teradata Accused Products consist of, among others, TAS/EAS

       and TD Columnar. According to Professor Wolfson, “TAS/EAS is similar in some respects to

       Data Integrator, as Data Integrator and TAS/EAS contain ETL functionality allowing users to

       extract, transform, and load data from one source to another source, including manipulating that

       data for further processing in the second source. Users of TAS/EAS in conjunction with the

       Teradata Database are able to manipulate data, such as by organizing it and mapping it to allow

       for improved processing within the Teradata Database.” 212 Additionally, according to Professor

       Wolfson, “Teradata Columnar allows users to manipulate data for improved processing for

       business intelligence and data analytics purposes to be performed on column-based views of data




       209
             Wolfson Report, ¶ 184.
       210
             SAP_03201345; SAP_43550525; SAP_43550578.
       211
             Wolfson Report, ¶ 164.




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       from row-based databases without time-constraining input/output procedures.                     Teradata

       Columnar is similar in some respects to Data Integrator, which was a data integration and ETL

       tool that allowed customers to extract, transform, and deliver data from one database to another,

       so that processing for business intelligence and other data analytics purposes could be

       performed.”213

       61.        Fourth, SAP                                                 and is one of the parties to

       the hypothetical license. Fifth, and relatedly, SAP and Teradata

                                                                                 , are both companies

       operating as suppliers of database technologies in the same overall industry.

       62.        After establishing the comparability between the JuxtaComm-SAP agreement and the

       SAP-Teradata hypothetical license, I conclude that this agreement can be used as a benchmark

       for the outcome of the hypothetical negotiation between SAP and Teradata for a license to the

       ’421 and ’321 patents.



                                                                          . I refer to this approach to

       calculating the reasonable royalty for a hypothetical license to the ’421 and ’321 patents as the

       Comparable License Approach.

       63.        I




       212
             Wolfson Report, ¶ 171.
       213
             Wolfson Report, ¶ 182.
       214
             SAP_43550525.




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       215
             SAP_43550525 at 526.
       216
             SAP_43550525 at 526.




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                                                                                                        . 219

       64.        My first economic adjustment accounts for the technical value of the ’421 and ’321

       patents relative to the technical value of JuxtaComm’s ’662 patent. As discussed above, I

       understand according to SAP’s technical expert, Professor Wolfson, that SAP’s ’421 and ’321

       patents are more technically valuable than JuxtaComm’s ’662 patent “in the context of software

       products for manipulating data” including Business Objects Data Integrator and Teradata’s

       TAS/EAS and TD Columnar.220 Based on this technical understanding, and to be conservative

       for this technical value adjustment, I have assumed that SAP’s ’421 and ’321 patents each claim

       technology that is as valuable technically as JuxtaComm’s ’662 patent in the context of data

       manipulation products.




       65.        My second economic adjustment




       217
             SAP_43550525 at 526-527.
       218
             See Exhibits 4a and 4b for Damages Scenarios 1 and 2, respectively.
       219
             SAP_43550525 at 527.




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       220

       221

       222



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       




       66.       My third economic adjustment accounts for the assumptions of validity and infringement

       of the SAP patents-in-suit. I understand that the reasonable royalty analysis (and thus the

       analysis of the SAP-Teradata hypothetical license) requires the assumption that each of the SAP

       patents-in-suit are valid and infringed by Teradata. In contrast, under the JuxtaComm-SAP

       agreement




                                                        Studies in the literature suggest a 30% to 55%




       224
             SAP_43550459 at 459. See also SAP_43550583 at 583, where SAP states:




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       230
             SAP_02684751 at 753.
       231
             SAP_02684751 at 751, 766.
       232
             SAP_02684751 at 752.
       233
             SAP_02684751 at 760.
       234
             SAP_02684751 at 756.




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             o




       235
             SAP_02684751 at 752.
       236
             SAP_02684751 at 751.
       237
             SAP_02684778 at 778.
       238
             SAP_02684778 at 779.




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                     b.      Economic Analysis

       71.




       239
             SAP_02684778 at 779.
       240
             SAP_02684778 at 786.
       241
             SAP_02684778 at 779.
       242
             SAP_02684778 at 778, 780.
       243
             SAP_47962609; SAP_47962610; SAP-00006740; SAP_47962622 at 622.
       244
             SAP_47962612 at 612; SAP-00006742; SAP_47962615 at 615; SAP-00006744.




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                                                                               Specifically, the opinions of

       Professor Wolfson indicate that SAP’s ’421 and ’321 patents are technically comparable to

       JuxtaComm’s ’662 patent and, furthermore, that the ’421 and ’321 patents would be at least as

       valuable as the ’662 patent, and likely more valuable. 249 Under my Comparable License

       Approach based on the JuxtaComm-SAP agreement, my starting point for the reasonable royalty

       for the ’421 and ’321 patents is




       245
             SAP_47962615 at 615; SAP-00006744.
       246
             Deposition 30(b)(1) of Kevin Prey, February 9, 2021, pp. 46-47.
       247
             Deposition 30(b)(1) of Kevin Prey, February 9, 2021, pp. 56-57.
       248
             Deposition 30(b)(1) of Kevin Prey, February 9, 2021, pp. 55-56.
       249
             Wolfson Report, Section VII.B.




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             C.        Apportionment of the Incremental Profits of the Teradata Accused
                       Products to the Claimed Technologies of the SAP Patents-In-Suit –
                       Georgia-Pacific Factors 8 and 13

                  1.      Overview

       73.         For the purposes of analyzing Georgia-Pacific Factor 8, the economically appropriate

       measure of commercial success and profitability of the Teradata Accused Products to consider is

       the expected incremental revenues and profits that could be earned by using the patented

       technologies at the time of the hypothetical negotiation.250 Furthermore, Georgia-Pacific Factor

       13 requires non-patented factors, including the contributions of Teradata, to be considered when

       analyzing the expected incremental revenues and profits of the Teradata Accused Products. 251

       For the purposes of accounting for Georgia-Pacific Factor 13 in the context of the hypothetical

       negotiation between SAP and Teradata for a license to the SAP patents-in-suit, the parties can be

       assumed to have given Teradata appropriate credit for its contributions to the Teradata Accused

       Products. This apportionment is important to ensure that the resulting reasonable royalty reflects

       the contribution of the patented invention, i.e., its “footprint in the marketplace,” rather than the

       contribution of other factors that were unrelated to the patented invention. All else equal, where

       the alleged infringer has made significant contributions to the success of the accused products,

       the negotiated royalty would be lower than if the licensee had made no such contribution.




       250
             Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970).
       251
             Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970).




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       74.        So that the resulting reasonable royalty “reflect[s] the value attributable to the infringing

       features of the product and no more,” 252 one approach to addressing apportionment and the

       commercial success and profitability of the accused products is to apportion the expected

       incremental profits of the Teradata Accused Product to the claimed technologies of the SAP

       patents-in-suit. Such an approach to calculating the reasonable royalty for a hypothetical license

       to the SAP patents-in-suit, which I refer to as the Profit Apportionment Approach, combines the

       specific considerations under Georgia-Pacific Factors 8 and 13 (along with the considerations

       under other Georgia-Pacific factors) and results in an upper bound for the outcome of the

       hypothetical negotiation. The necessary steps required to apportion the expected incremental

       profits of the Teradata Accused Products to the value of the claimed technologies of the SAP

       patents-in-suit, and to determine the resulting reasonable royalty, are as follows:

            Apportionment of the expected revenues of the Teradata Accused Products to the claimed
             technologies of the SAP patents-in-suit.
            Calculation of the expected incremental profits for the apportioned revenues.
            Split of the apportioned expected incremental profits between SAP and Teradata.


                  2.        Calculation of the Expected Incremental Profits for the Revenues of the
                            Teradata Accused Products Apportioned to the Claimed Technologies of the
                            SAP Patents-In-Suit

                       a.       The ’421 Patent

       75.        I understand that the accused functionality covered by the claimed technology of the ’421

       patent is incorporated in the TD Columnar feature of Teradata Database. The first step in my

       apportionment analysis for the ’421 patent is to apportion the expected revenues of the Teradata

       Accused Products accused of infringing the ’421 patent to TD Columnar. Based on the approach



       252
             Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014).




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       for calculating the expected accused revenues for the Teradata Accused Products described in

       Section IV.B.2.c, including my approach for estimating TD Columnar revenues that are

       embedded in the revenues from sales of versions of Teradata Database where TD Columnar is

       bundled with these products and not priced separately, I calculated                                 in net present

       value terms as of the April 2017 hypothetical negotiation, in expected TD Columnar revenues

       from April 18, 2017 through November 2021. 253

       76.        The second step in my apportionment analysis for the ’421 patent is to apportion these

       expected TD Columnar revenues to the claimed technology of the ’421 patent. According to

       Professor Wolfson’s technical analysis I understand that the apportionment factor for the ’421

       patent ranges from 12.5% to 33.3% of TD Columnar revenues. 254 Applying the range of ’421

       patented technology apportionment factors of 12.5% to 33.3% to the net present value of the

       total expected TD Columnar revenues from April 18, 2017 through November 2021 results in a

       net present value of the total expected Teradata Accused Products revenues apportioned to the

       claimed technology of the ’421 patent of                                          .255

       77.        The final step in my apportionment analysis for the ’421 patent is to calculate the net

       present value of the incremental profits for the expected TD Columnar revenues apportioned to

       the claimed technology of the ’421 patent. I used the expected operating profit margins that I

       calculated for TD Columnar based on the approach described in Section IV.B.2.c. Applying the




       253
             Exhibit 3c. I calculated             in net present value terms as of the April 2017 hypothetical negotiation,
             in expected TD Columnar revenues from May 21, 2019 through November 2021. See Exhibit 3c.
       254
             Wolfson Report, ¶ 73.
       255
             Exhibit 3a. Applying the range of ’421 patented technology apportionment factors of 12.5% to 33.3% to the net
             present value of the total expected TD Columnar revenues from May 21, 2019 through November 2021 results in
             a net present value of the total expected Teradata Accused Products revenues apportioned to the claimed
             technology of the ’421 patent of                           . See Exhibit 3a.




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       expected TD Columnar operating profit margins to the net present value of the expected TD

       Columnar revenues apportioned to the claimed technology of the ’421 patent results in a net

       present value of the total expected Teradata Accused Products profits apportioned to the claimed

       technology of the ’421 patent of                                               from April 18, 2017 through

       November 2021.256

                      b.       The ’321 Patent

       78.        I understand that the accused functionality covered by the claimed technology of the ’321

       patent is incorporated in the TAS/EAS feature of Teradata Database. The first step in my

       apportionment analysis for the ’321 patent is to apportion the revenues of the Teradata Accused

       Products accused of infringing the ’321 patent to TAS/EAS.                       Based on the approach for

       calculating the expected accused revenues for the Teradata Accused Products described in

       Section IV.B.2.c, I calculated                       in net present value terms as of the September 2014

       hypothetical negotiation, in expected TAS/EAS revenues from September 1, 2014 through

       November 2021.257

       79.        The second step in my apportionment analysis for the ’321 patent is to apportion these

       expected TAS/EAS revenues to the claimed technology of the ’321 patent. I have not been

       asked to address apportionment for the accused TAS/EAS revenues associated with Teradata’s

       infringement of the ‘321 patent and, accordingly, have not done so. As a result, I have been



       256
             Exhibit 3a. Applying the expected TD Columnar operating profit margins to the net present value of the
             expected TD Columnar revenues apportioned to the claimed technology of the ’421 patent results in a total net
             present value of the expected Teradata Accused Products profits apportioned to the claimed technology of the
             ’421 patent of                          from May 21, 2019 through November 2021. See Exhibit 3a.
       257
             Exhibit 4a. I calculated        in net present value terms as of the September 2014 hypothetical negotiation,
             in expected TAS/EAS revenues from May 21, 2019 through November 2021. See Exhibit 4a.




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       asked to assume that the apportionment factor for the ’321 patent is 100% of TAS/EAS revenues.

       Applying the ’321 patented technology apportionment factor of 100% to the net present value of

       the total expected TAS/EAS revenues from September 1, 2014 through November 2021 results

       in a net present value of the total expected Teradata Accused Products revenues apportioned to
                                                                            258
       the claimed technology of the ’321 patent of

       80.        The final step in my apportionment analysis for the ’321 patent is to calculate the net

       present value of the incremental profits for the expected TAS/EAS revenues apportioned to the

       claimed technology of the ’321 patent. I used the expected operating profit margins that I

       calculated for TAS/EAS based on the approach described in Section IV.B.2.c. Applying the

       expected TAS/EAS operating profit margins to the net present value of the expected TAS/EAS

       revenues apportioned to the claimed technology of the ’321 patent results in a net present value

       of the total expected Teradata Accused Products profits apportioned to the claimed technology of

       the ’321 patent of                    from September 1, 2014 through November 2021. 259

                      c.       The ’437 Patent

       81.        The first step in my apportionment analysis for the ’437 patent is to apportion the

       expected accused revenues for Teradata Database to the claimed technology of the ’437 patent.

       Based on the approach for calculating the expected accused revenues for the Teradata Accused

       Products described in Section IV.B.2.c, I calculated                           in net present value terms as of



       258
             Exhibit 3a. Applying the ’321 patented technology apportionment factor of 100% to the total net present value
             of the expected TAS/EAS revenues from May 21, 2019 through November 2021 results in total expected
             Teradata Accused Products revenues apportioned to the claimed technology of the ’321 patent of            See
             Exhibit 3a.
       259
             Exhibit 3a. Applying the expected TAS/EAS operating profit margins to the net present value of the expected
             TAS/EAS revenues apportioned to the claimed technology of the ’321 patent results in a total net present value
             of the expected Teradata Accused Products profits apportioned to the claimed technology of the ’321 patent of
                       from May 21, 2019 through November 2021. See Exhibit 3a.




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       the May 2013 hypothetical negotiation, in expected Teradata Database revenues from July 10,

       2013 through November 2021. 260 According to Professor Wolfson’s technical analysis I

       understand that the apportionment factor for the ’437 patent ranges from 0.05% to 0.225% of

       Teradata Database revenues.261 Applying the range of ’437 patented technology apportionment

       factors of 0.05% to 0.225% to the net present value of the total expected Teradata Database

       revenues from July 10, 2013 through November 2021 results in a net present value of the total

       expected Teradata Accused Products revenues apportioned to the claimed technology of the ’437

       patent of                                 .262

       82.        The second step in my apportionment analysis for the ’437 patent is to calculate the net

       present value of the incremental profits for the expected Teradata Database revenues apportioned

       to the claimed technology of the ’437 patent. I used the expected operating profit margins that I

       calculated for Teradata Database based on the approach described in Section IV.B.2.c. Applying

       the expected Teradata Database operating profit margins to the net present value of the total

       expected Teradata Database revenues apportioned to the claimed technology of the ’437 patent

       results in a net present value of the total expected Teradata Accused Products profits apportioned

       to the claimed technology of the ’437 patent of                                              from July 10, 2013

       through November 2021. 263




       260
             Exhibit 4a. I calculated                in net present value terms as of the May 2013 hypothetical negotiation,
             in expected Teradata Database revenues from May 21, 2019 through November 2021. See Exhibit 4a.
       261
             Wolfson Report, ¶ 149.
       262
             Exhibit 3a. Applying the range of ’437 patented technology apportionment factors of 0.05% to 0.225% to the
             net present value of the total expected Teradata Database revenues from May 21, 2019 through November 2021
             results in the net present value of the total expected Teradata Accused Products revenues apportioned to the
             claimed technology of the ’437 patent of                         . See Exhibit 3a.
       263
             Exhibit 3a. Applying the expected Teradata Database operating profit margins to the net present value of the
             expected Teradata Database revenues apportioned to the claimed technology of the ’437 patent results in a total



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                      d.       The ’179 Patent

       83.        The first step in my apportionment analysis for the ’179 patent is to apportion the

       expected accused revenues for Teradata Database to the claimed technology of the ’179 patent.

       Based on the approach for calculating the expected accused revenues for the Teradata Accused

       Products described in Section IV.B.2.c, I calculated                           in net present value terms as of

       the May 2013 hypothetical negotiation, in expected Teradata Database revenues from July 10,

       2013 through November 2021. 264 According to Professor Wolfson’s technical analysis I

       understand that the apportionment factor for the ’179 patent ranges from 1% to 2.25% of

       Teradata Database revenues.265 Applying the range of ’179 patented technology apportionment

       factors of 1% to 2.25% to the net present value of the total expected Teradata Database revenues

       from July 10, 2013 through November 2021 results in the net present value of the total expected

       Teradata Accused Products revenues apportioned to the claimed technology of the ’179 patent of

                                            .266

       84.        The second step in my apportionment analysis for the ’179 patent is to calculate the net

       present value of the incremental profits for the expected Teradata Database revenues apportioned

       to the claimed technology of the ’179 patent. I used the expected operating profit margins that I

       calculated for Teradata Database based on the approach described in Section IV.B.2.c. Applying

       the expected Teradata Database operating profit margins to the net present value of the expected




             net present value of the expected Teradata Accused Products profits apportioned to the claimed technology of
             the ’437 patent of                            from May 21, 2019 through November 2021. See Exhibit 3a.
       264
             Exhibit 4a. I calculated                in net present value terms as of the May 2013 hypothetical negotiation,
             in expected Teradata Database revenues from May 21, 2019 through November 2021. See Exhibit 4a.
       265
             Wolfson Report, ¶ 127.
       266
             Exhibit 3a. Applying the range of ’179 patented technology apportionment factors of 1% to 2.25% to the net
             present value of the total expected Teradata Database revenues from May 21, 2019 through November 2021



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       Teradata Database revenues apportioned to the claimed technology of the ’179 patent results in a

       net present value of the total expected Teradata Accused Products profits apportioned to the

       claimed technology of the ’179 patent of                                                         from July 10, 2013

       through November 2021. 267

                  3.       Split of the Apportioned Incremental Profits

       85.        SAP and Teradata would have negotiated over a split of the expected Teradata Accused

       Product profits apportioned to the claimed technologies of the SAP patents-in-suit.

       86.




             results in the net present value of the total expected Teradata Accused Products revenues apportioned to the
             claimed technology of the ’179 patent of                             See Exhibit 3a.
       267
             Exhibit 3a. Applying the expected Teradata Database operating profit margins to the net present value of the
             expected Teradata Database revenues apportioned to the claimed technology of the ’179 patent results in a total
             net present value of the expected Teradata Accused Products profits apportioned to the claimed technology of
             the ’179 patent of                          from May 21, 2019 through November 2021. See Exhibit 3a.
       268

       269

       270
             TD00048499 at 510. The economics bargaining literature shows that the split of the “pie” that the parties are
             bargaining over, i.e., the gains to trade, will depend on the parties’ relative costs of extending the negotiation to
             get a better deal. A measure of a party’s costs of waiting is the rate at which it discounts future expected cash
             flows (the party’s discount rate). See, e.g., A. Rubinstein, “Perfect Equilibrium in a Bargaining Model,”
             Econometrica, 1982. A company’s WACC is a useful approximation of its discount rate. Using SAP’s and
             Teradata’s WACCs around the time of the May 2013 hypothetical negotiation of 8.7% and 11.3%, respectively, I
             have calculated a split of approximately 56% going to SAP and 44% going to Teradata. Using SAP’s and
             Teradata’s WACCs around the time of the September 2014 hypothetical negotiation of 9.6% and 11.6%,
             respectively, I have calculated a split of approximately 55% going to SAP and 45% going to Teradata. Using



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       87.        Applying                                     to the expected Teradata Accused Products profits

       apportioned to the claimed technologies of the SAP patents-in-suit results in the portion of these

       profits that Teradata would pay to SAP for a license to the SAP patents-in-suit. The results of

       my analysis under the Profit Apportionment Approach are the lump-sum reasonable royalties for

       each of the SAP patents-in-suit presented in Table 3.




             SAP’s and Teradata’s WACCs around the time of the April 2017 hypothetical negotiation of 7.0% and 10.6%,
             respectively, I have calculated a split of approximately 60% going to SAP and 40% going to Teradata.
             Bloomberg Terminal, March 3, 2021.




       271
             Teradata Corporation Form 10-K for the fiscal year ended December 31, 2013 (“Teradata 2013 10-K”), p. 19
             (“Our operating expense budgets (including such categories as headcount, real estate, and technology resources)
             are based on projected annual and quarterly revenue levels and are generally incurred ratably throughout each
             quarter. Since our operating expenses are relatively fixed in the short term, failure to generate projected revenues
             for a specified period could adversely impact our operating results, reducing net income or causing an operating
             loss for that period.”). See also Teradata Corporation Form 10-K for the fiscal year ended December 31, 2014
             (“Teradata 2014 10-K”), pp. 17-18; Teradata Corporation Form 10-K for the fiscal year ended December 31,
             2017 (“Teradata 2017 10-K”), p. 19.
       272
             SAP AG Form 20-F for the fiscal year ended December 31, 2013 (“SAP 2013 20-F”), p. F-3; SAP SE Form 20-F
             for the fiscal year ended December 31, 2014 (“SAP 2014 20-F”), p. F-3; SAP SE Form 20-F for the fiscal year
             ended December 31, 2017 (“SAP 2017 20-F”), p. F-4; Teradata 2013 10-K, p. 49; Teradata 2014 10-K, p. 42;
             Teradata 2017 10-K, p. 42.




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       factor would have had on the outcome of the hypothetical negotiations for a license to the SAP

       patents-in-suit.

                  1.      Georgia-Pacific Factor 1: The Royalties Received by the Patentee for the
                          Licensing the Patent-In-Suit, Proving or Tending to Prove an Established
                          Royalty

       89.        Georgia-Pacific Factor 1 considers, among other things, licenses to the patents-in-suit.

       These licenses may, under certain circumstances, represent arm’s-length transactions that shed

       light on the value of a license to the patents-in-suit.               For example, licenses signed under

       comparable economic circumstances surrounding the hypothetical negotiation, as well as

       licenses for which adjustments can be made to account for any significant dissimilarities, may

       provide evidence useful for determining the royalty that the parties would have agreed to during

       the hypothetical negotiation. If the economic circumstances surrounding the licenses are not

       comparable to those of the hypothetical negotiation, and it is not possible to reliably adjust to

       account for dissimilarities, then the license should not be used as a comparable license.

       90.
                                                                                                                    276
                                                                                                                          A

       summary of the relevant terms and conditions of these SAP agreements is provided in Exhibit

       10a. I understand that some of the SAP patents-in-suit are covered under these agreements. 277

       However, these agreements are not useful for establishing a reasonable royalty for any of the

       SAP patents-in-suit




       275
             Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970).
       276
             SAP_02684433; SAP_02684444; SAP_63723577; SAP_02684558; SAP-MS_00000310; SAP_02684582. See
             also Exhibit 10a.




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       91.        Since there are no patent license agreements that include an established royalty for any of

       the SAP patents-in-suit, this Georgia-Pacific factor has no effect on my reasonable royalty

       analysis.

                  2.       Georgia-Pacific Factor 2: The Rates Paid by the Licensee for the Use of
                           Other Patents Comparable to the Patent-in-Suit

       92.        Georgia-Pacific Factor 2 considers, among other things, agreements entered by Teradata

       in which it has received licenses to patents. As discussed above under Section VI.B. (Georgia-

       Pacific Factor 12), before using a license as a comparable for determining the outcome of the

       hypothetical negotiation, one must assess whether the economic circumstances surrounding the

       license are sufficiently comparable to those surrounding the hypothetical negotiation and, if not,

       whether adjustments can be made to account for any significant dissimilarities. If the economic

       circumstances are not comparable and reliable adjustments cannot be made, then the license

       should not be used as a comparable.

       93.        I have reviewed the Teradata agreements produced in this matter that have involved,

       among other things, Teradata receiving licenses to patents. A summary of the relevant terms and




       277
             Deposition 30(b)(1) of Kevin Prey, February 9, 2020, pp. 14-15.
       278
             SAP_02684433; SAP_02684444; SAP_63723577; SAP_02684558; SAP-MS_00000310. See also Exhibit 10a.
       279
             Deposition 30(b)(1) of Kevin Prey, February 9, 2020, pp. 15-16.




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       conditions of these Teradata agreements is provided in Exhibit 10b. Based on my review of

       these agreements and the corresponding deposition testimony and related documents, I find that

       none of these agreements are useful for establishing a reasonable royalty for a hypothetical

       license to the SAP patents-in-suit.

       94.




       280
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 22-24; TD01894122 at 122-123; TD01894105 at
             106.
       281
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 29-30.
       282
             TD01894144 at 144-145.
       283
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 32-33.
       284
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 39-51.
       285
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 46-47; Exhibit 10b.




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       95.        Since there are no agreements where Teradata licensed in patents that are useful for

       establishing a reasonable royalty for any of the SAP patents-in-suit, this Georgia-Pacific factor

       has no effect on my reasonable royalty analysis.

                  3.       Georgia-Pacific Factor 3: The Nature of the Scope of the License, as
                           Exclusive or Non-Exclusive; or as Restricted or Non-Restricted in Terms of
                           Territory or with Respect to Whom the Manufactured Product May Be Sold

       96.        All else equal, a non-exclusive license would result in a lower royalty than a royalty that

       would prevail for an exclusive license.                  Additionally, all else equal, a license limited

       geographically to the United States would result in a lower royalty than a royalty that would

       prevail for a worldwide license. I analyze this Georgia-Pacific factor relative to my reasonable

       royalty analyses performed under the Comparable License Approach and Profit Apportionment

       Approach.

       97.




       286
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 47-48; Exhibit 10b.
       287
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 48-51; Exhibit 10b.
       288
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 46-48.
       289
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 54-55, 64-65.




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                                    As a result, this Georgia-Pacific factor has no further effect on my

       reasonable royalty analysis under the Comparable License Approach.

       98.        My reasonable royalty analysis where I apportioned the expected incremental profits of

       the Teradata Accused Products to the claimed technologies of the SAP patents-in-suit assumes a

       non-exclusive, U.S.-only license to the SAP patents-in-suit covering the Teradata Accused

       Products. First, the assumption of a non-exclusive license to the SAP patents-in-suit is consistent

       with Teradata’s alleged infringement of these patents; in other words, Teradata’s alleged use of

       the SAP patented technologies assumes that they were used non-exclusively, and not exclusively.

       Second, the assumption of a U.S.-only license to the SAP patents-in-suit is consistent with the

       fact that the expected revenues for the Teradata Accused Products used in my damages

       calculation are the revenues generated from only those sales that allegedly infringe the SAP
                            291
       patents-in-suit.            Therefore, my reasonable royalty damages calculation based on

       apportionment of the expected incremental profits of the Teradata Accused Products reflects the

       non-exclusive, U.S.-only assumptions of the hypothetical license. As a result, this Georgia-




       290
             SAP_02684682-710 at 687; SAP_43550525; Exhibit 10a. See also Section VI.B.1 above.
       291
             Under Damages Scenario 1, I have been asked to exclude revenues identified as associated with transactions in
             Teradata’s Sales Data that have a non-U.S. Country Code or Country Name (which I refer to for convenience as
             “non-U.S. revenues”) in my calculation of the accused revenues for the Teradata Accused Products. Under
             Damages Scenario 2, I have been asked to include these “non-U.S. revenues” in my calculation of the accused
             revenues for the Teradata Accused Products. I have included these “non-U.S. revenues” for informational



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       Pacific factor has no further effect on my reasonable royalty analysis under the Profit

       Apportionment Approach.

               4.       Georgia-Pacific Factor 4: The Licensor’s Established Policy and Marketing
                        Program to Maintain His Patent Monopoly by Not Licensing Others To Use
                        the Invention; or by Granting Licenses under Special Conditions Designed to
                        Preserve That Monopoly

       99.     All else equal, the fact that a licensor has no plan to maintain its patent monopoly by

       refusing to license its patents would reduce the royalty that a prospective licensee would be

       expected to pay.

       100.    As discussed under Georgia-Pacific Factor 1, I

                                                                                                            . Given that

       SAP would be unwilling to grant a one-way license to the SAP patents-in-suit to Teradata, a

       company that participated as a supplier in the same overall industry, all else equal, this Georgia-

       Pacific factor would have a small upward effect on my reasonable royalty analyses under the

       Comparable License Approach and Profit Apportionment Approach.                           However, under both

       approaches, I conservatively do not make any adjustment to account for these small effects.

               5.       Georgia-Pacific Factor 5: The Commercial Relationship between the
                        Licensor and Licensee, Such As Whether They Are Competitors in the Same
                        Territory in the Same Line of Business; or Whether They Are Inventor and
                        Promoter

       101.    Georgia-Pacific Factor 5 addresses the competition between the licensor and licensee at

       the time of the hypothetical negotiation pertaining to the accused products. All else equal, if the

       licensor and licensee are not competitors at the time of the hypothetical negotiation, this factor

       would result in a lower royalty than a royalty that would prevail if the licensor and licensee were




          purposes and do not express an opinion here as to whether the legal requirements for their inclusion in a damages



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       actual competitors. I analyze this Georgia-Pacific factor relative to my reasonable royalty

       analyses performed under the Comparable License Approach and Profit Apportionment

       Approach.

       102.       In this matter the relevant competition to address is the competition between SAP and

       Teradata pertaining to the Teradata Accused Products around the time of the May 2013,

       September 2014, and April 2017 hypothetical negotiations. At the time of the hypothetical

       negotiations, SAP and Teradata participated as suppliers in the same overall industry, but the

       products in this industry as a general matter are highly differentiated. Moreover, some products

       have certain complementarities with other products (i.e., they can be used together, rather than as

       substitutes for each other). Teradata did not consider SAP products to be particularly close

       substitutes for its products. For example, in both its annual reports for the fiscal years ending

       December 31, 2013 and December 31, 2014, Teradata described its competition in the analytic

       data platforms market as “highly competitive, and we face a number of large traditional

       competitors, such as IBM and Oracle.” 292 Teradata further describes its business relationships

       with companies that operate in markets adjacent to the analytic data platforms market, “such as

       enterprise analytic and business intelligence application software. The status of our business

       relationships with these companies can influence our ability to compete. Our products also

       complement offerings of some of our competitors, with whom we have formed partnerships to

       work with their business intelligence and application software businesses. Examples of these

       companies include both IBM and Oracle, due to their acquisitions of other business intelligence,




             calculation are satisfied.
       292
             Teradata 2013 10-K, p. 10; Teradata 2014 10-K, p. 10.




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       consulting and application software companies in recent years.” 293 In Teradata’s annual report

       for the fiscal year ending December 31, 2017, it described its competition as “new analytics

       services companies, cloud vendors and open source providers, as well as large traditional

       competitors, such as IBM, SAP and Oracle.” 294

       103.       JuxtaComm and SAP were not competitors related to the accused Business Objects

       products that were the subject of the JuxtaComm-SAP agreement. 295 As a result, all else equal,

       this Georgia-Pacific factor would have a small upward effect on my reasonable royalty analysis

       under the Comparable License Approach. Similarly, under the Profit Apportionment Approach,

       this factor would have a small upward effect on the royalty. However, under both approaches, I

       conservatively do not make any adjustment to account for these small effects.

                  6.       Georgia-Pacific Factor 6: The Effect of Selling the Patented Specialty in
                           Promoting Sales of Other Products of the Licensee; the Existing Value of the
                           Invention to the Licensor as a Generator of Sales of His Non-Patented Items;
                           and the Extent of Such Derivative or Convoyed Sales

       104.       I have excluded sales of maintenance and services associated with the expected sales of

       the Teradata Accused Products under my calculation of reasonable royalty damages under both

       the Comparable License and Profit Apportionment Approaches. As a result, this Georgia-

       Pacific factor has no effect on my reasonable royalty analyses under the Comparable License

       Approach and Profit Apportionment Approach.



       293
             Teradata 2013 10-K, p. 10; Teradata 2014 10-K, p. 11.
       294
             Teradata 2017 10-K, p. 8.
       295
             I understand that JuxtaComm is an organization that “use[s] patents to generate revenue without manufacturing,
             promoting, or marketing products or investing in research and development in bringing products to market” and
             therefore does not compete directly with SAP or Business Objects. See Informatica Corporation Form 10-K for
             the fiscal year ended December 31, 2008, pp. 19-20 (“In addition, there is a growing occurrence of patent suits
             being brought by organizations that use patents to generate revenue… For example, on August 21, 2007,
             JuxtaComm Technologies filed a complaint… alleging patent infringement against the following defendants:
             ...Business Objects SA,...Informatica Corporation”).




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                                                                                               . As a result,

       this Georgia-Pacific factor has no further effect on my reasonable royalty analyses under the

       Comparable License Approach and Profit Apportionment Approach.

                  9.      Georgia-Pacific Factor 9: The Utility and Advantages of the Patented
                          Property over the Old Modes or Devices, If Any, That Had Been Used for
                          Working Out Similar Results;

                          Georgia-Pacific Factor 10: The Nature of the Patented Invention; The
                          Character of the Commercial Embodiment of It as Owned and Produced by
                          the Licensor; and the Benefits to Those Who Have Used the Invention; and

                          Georgia-Pacific Factor 11: The Extent to Which the Infringer Has Made Use
                          of the Inventions; and Any Evidence Probative of the Value of that Use

       108.       In the context of this matter, Georgia-Pacific Factors 9, 10, and 11 raise similar

       economic considerations and, therefore, I evaluate them together. These factors consider the

       incremental value of each of the SAP patents-in-suit over old modes and prior art, as well as the

       availability of acceptable non-infringing alternatives. Georgia-Pacific Factor 11 also considers

       the “extent” to which each patent is used, that is, the frequency and time horizon of use.

       109.       I understand the Wolfson Report identifies the percentage value of the Teradata Accused

       Products that should be apportioned to the functionality covered by each of the SAP patents-in-

       suit.      Relying in part on that information, I have already considered under the Profit

       Apportionment Approach the incremental value of the SAP patents-in-suit over, for example, the

       features available in earlier versions of the Teradata Accused Products (which do not contain the

       functionality covered by the SAP patents-in-suit).296 Moreover, my analysis under both damages




       296
             See Section VI.C.




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       approaches—and for each of the SAP patents-in-suit—accounts for the frequency and time

       horizon of Teradata’s infringement. 297

       110.       To evaluate whether acceptable non-infringing alternatives were available on the date of

       first infringement, I consider—among other things—the cost of the purported alternatives, their

       features and functionality, the cost of degraded functionality, and their economic viability.

       Based on my review of certain of Teradata’s responses to written discovery, the deposition

       testimony of Teradata’s corporate representative, Grace Au, and SAP’s damages contentions,

       among other information, I have not seen evidence establishing the availability of acceptable

       non-infringing alternatives.

       111.       I have reviewed Teradata’s Response to SAP’s Interrogatory No. 38 (and Teradata’s

       First, Corrected First, and Second Supplemental and Amended Response thereto), 298 Teradata’s

       Response to SAP’s Interrogatory No. 21 (and Teradata’s First, Second, and Third Amended and

       Supplemental Response thereto), 299 Teradata’s Response to SAP’s Interrogatory No. 28 (and




       297
             See, e.g., Sections VI.B.1 and VI.C.
       298
             Plaintiffs’ Responses to Defendants’ Fourth Set of Interrogatories (Nos. 29-41), April 6, 2020, Response to
             Interrogatory No. 38, pp. 23-25; Plaintiffs’ Fourth Supplemental and Amended Responses to Defendants’ Fourth
             Set of Interrogatories (Nos. 38, 39), October 26, 2020, First Supplemental and Amended Response to
             Interrogatory No. 38, pp. 4-11; Plaintiffs’ Corrected Fourth Supplemental and Amended Responses to
             Defendants’ Fourth Set of Interrogatories (Nos. 38, 39), October 30, 2020, First Supplemental and Amended
             Response to Interrogatory No. 38, pp. 4-11; and Plaintiffs’ Sixth Supplemental and Amended Responses to
             Defendants’ Fourth Set of Interrogatories (Nos. 30, 35–38, 40), February 12, 2021, Second Supplemental
             Response to Interrogatory No. 38, pp. 16-17.
       299
             Plaintiffs’ Responses to Defendants’ Third Set of Interrogatories (Nos. 19-28), December 3, 2019, Response to
             Interrogatory No. 21, pp. 6-34; Plaintiffs’ Fifth Amended and Supplemental Responses to Defendants’ Third Set
             of Interrogatories (Nos. 21, 26), October 26, 2020, First Supplemental and Amended Response to Interrogatory
             No. 21, pp. 4-64; Plaintiffs’ Corrected Fifth Supplemental and Amended Responses to Defendants’ Third Set of
             Interrogatories (Nos. 21, 26), October 30, 2020, Second Amended and Supplemental Response to Interrogatory
             No. 21, pp. 4-64; and Plaintiffs’ Eighth Supplemental and Amended Responses to Defendants’ Third Set of
             Interrogatories (Nos. 19, 21, 22, 23, 26, 27), February 12, 2021, Third Amended and Supplemental Response to
             Interrogatory No. 21, pp. 7-80.




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       Teradata’s First and Second Supplemental Response thereto), 300 and Teradata’s Response and

       Corrected Response to SAP’s Document Request Nos. 162, 163, and 164. 301

       112.       Teradata has asserted that acceptable non-infringing alternatives include earlier versions

       of its products that do not contain the infringing technology, current versions of its products with

       the infringing technology assumed to be stripped out or never used, and other products that do

       not contain the technology covered by the SAP patents-in-suit. 302 However, to date, Teradata

       has not sufficiently described these purported alternatives:                   for example, Teradata has not

       specified whether such products would have provided the same functionality as the Teradata

       Accused Products and what costs would have been associated with implementing and using

       them. 303       Teradata has also asserted that “[s]everal non-infringing alternatives could be

       implemented through Teradata’s existing development processes with limited expense and

       effort.”304 However, again, Teradata has not sufficiently described these purported alternatives.



       300
             Plaintiffs’ Responses to Defendants’ Third Set of Interrogatories (Nos. 19-28), December 3, 2019, Response to
             Interrogatory No. 28, pp. 39-40; Plaintiffs’ Supplemental Responses to Defendants’ Third Set of Interrogatories,
             April 24, 2020, Supplemental Response to Interrogatory No. 28, pp. 5-12; and Plaintiffs’ Second Supplemental
             Responses to Defendants’ Third Set of Interrogatories, January 29, 2021, Second Supplemental Response to
             Interrogatory No. 28, pp. 5-11.
       301
             Plaintiffs’ Responses to Defendants’ Fourth Set of Document Requests, November 25, 2019, Response to
             Document Request Nos. 162, 163, and 164, pp. 5-7; Plaintiffs’ Corrected Responses to Defendants’ Fourth Set
             of Document Requests, November 25, 2019, Response to Document Request Nos. 162, 163, and 164, pp. 5-7.
       302
             Plaintiffs’ Fourth Supplemental and Amended Responses to Defendants’ Fourth Set of Interrogatories (Nos. 38,
             39), October 26, 2020, First Supplemental and Amended Response to Interrogatory No. 38, pp. 4-11; Plaintiffs’
             Corrected Fourth Supplemental and Amended Responses to Defendants’ Fourth Set of Interrogatories (Nos. 38,
             39), October 30, 2020, First Supplemental and Amended Response to Interrogatory No. 38, pp. 4-11.
       303
             See, e.g., Plaintiffs’ Fourth Supplemental and Amended Responses to Defendants’ Fourth Set of Interrogatories
             (Nos. 38, 39), October 26, 2020, First Supplemental and Amended Response to Interrogatory No. 38, pp. 4-11;
             Plaintiffs’ Corrected Fourth Supplemental and Amended Responses to Defendants’ Fourth Set of Interrogatories
             (Nos. 38, 39), October 30, 2020, First Supplemental and Amended Response to Interrogatory No. 38, pp. 4-11;
             see also, e.g., Plaintiffs’ Responses to Defendants’ Fourth Set of Document Requests, November 25, 2019,
             Response to Document Request Nos. 162, 163, and 164, pp. 5-7; Plaintiffs’ Corrected Responses to Defendants’
             Fourth Set of Document Requests, November 25, 2019, Response to Document Request Nos. 162, 163, and 164,
             pp. 5-7.
       304
             Plaintiffs’ Sixth Supplemental and Amended Responses to Defendants’ Fourth Set of Interrogatories (Nos. 30,
             35–38, 40), February 12, 2021, Second Supplemental Response to Interrogatory No. 38, p. 17.




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       Teradata has not described, for example, the cost of development and implementation, the time

       required, or the risks associated with such a development effort. 305 Based on my review of the

       information Teradata has provided—as well as other information discussed in this report and in

       the Wolfson Report—I conclude Teradata has not demonstrated with sufficient specificity the

       availability of acceptable non-infringing alternatives. Nonetheless, I reserve the right to respond

       to an attempt by Teradata to provide sufficient information about the availability of any

       purportedly acceptable non-infringing alternatives.

       113.       I have also reviewed the deposition testimony of Grace Au as corporate representative of

       Teradata.306 Among the testimony I reviewed was, for example, the portion in which counsel for

       SAP asked Ms. Au if “functionality similar to Teradata Columnar [was] available prior to the

       release of Teradata Columnar.”307 Ms. Au replied “[a]s far as I know, there’s no functionality

       similar to Teradata Column- --Columnar [sic] available prior to the release to the 14.10.” 308 I

       also reviewed—among other information—the portion in which counsel for SAP asked Ms. Au

       “if a Teradata customer wanted to have the functionality in Teradata Columnar, but they were

       unable to have access to Teradata Columnar, is there any other software products they could use

       that would provide similar functionality,” Ms. Au replied “[n]ot that I’m aware of.” 309 Based on

       my review of this deposition testimony, I conclude Teradata has not only failed to demonstrate

       the availability of acceptable non-infringing alternatives, but also that Teradata is unaware of any

       acceptable non-infringing alternatives to the functionality covered by the ’421 patent.



       305
             See, e.g., Plaintiffs’ Sixth Supplemental and Amended Responses to Defendants’ Fourth Set of Interrogatories
             (Nos. 30, 35–38, 40), February 12, 2021, Second Supplemental Response to Interrogatory No. 38, pp. 16-17.
       306
             Deposition 30(b)(6) of Grace Au, January 7, 2021.
       307
             Deposition 30(b)(6) of Grace Au, January 7, 2021, p. 18.
       308
             Deposition 30(b)(6) of Grace Au, January 7, 2021, p. 18.




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       114.       Finally, I have also reviewed SAP’s Patent L.R. 3-8 Damages Contentions and

       Supplement thereto.310 Based on my review, I understand SAP has not identified any acceptable

       non-infringing alternatives as of the date of this report. 311

       115.       Given Teradata’s inability to describe, value, and, consequently, to establish the

       availability of any acceptable non-infringing alternatives—and given the Comparable License

       Approach and Profit Apportionment Approach already take into account Georgia-Pacific Factors

       9, 10, and 11—these factors have no further effect on my reasonable royalty analysis.

                  10.      Georgia-Pacific Factor 12: The Portion of the Profit or of the Selling Price
                           That May Be Customary in the Particular Business or in Comparable
                           Businesses to Allow for the Use of the Invention or Analogous Inventions

       116.       I have addressed Georgia-Pacific Factor 12 above in Section VI.B where I reviewed and

       analyzed the SAP agreements produced in this matter that have involved, among other things,

       SAP granting licenses to patents or receiving licenses to patents. As discussed in detail in that

       section, I used the JuxtaComm-SAP agreement as a benchmark for the outcome of the

       hypothetical negotiation for the ’421 and ’321 patents and adjusted the                                            to

       account for economic differences between this benchmark agreement and the hypothetical

       license.      I also used the SAP-ServiceNow agreements and the real-world patent valuation

       approach implemented by SAP in its negotiations with ServiceNow to support my use of the

       JuxtaComm-SAP agreement as a benchmark. As a result, this Georgia-Pacific factor has no

       further effect on my reasonable royalty analysis under the Comparable License Approach.



       309
             Deposition 30(b)(6) of Grace Au, January 7, 2021, p. 51.
       310
             Defendants’ Patent L.R. 3-8 Damages Contentions, December 20, 2019; Defendants’ Supplement to Patent L.R.
             3-8 Damages Contentions, October 12, 2020.
       311
             Defendants’ Supplement to Patent L.R. 3-8 Damages Contentions, October 12, 2020, Section F, p. 13 (“For its
             part, SAP has informed Teradata that it has not located any qualifying noninfringing alternative.”).




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       117.       Georgia-Pacific Factor 12 also considers agreements entered by Teradata in which it has

       granted licenses to patents. I have reviewed the Teradata agreements produced in this matter that

       have involved, among other things, Teradata granting licenses to patents to other entities. A

       summary of the relevant terms and conditions of these Teradata agreements is provided in

       Exhibit 10b.        Based on my review of these agreements and the corresponding deposition

       testimony and related documents, I find that none of these agreements are useful for establishing

       a reasonable royalty for a hypothetical license to the SAP patents-in-suit




       312
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 36-37.
       313
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 37-39.
       314
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 44-46.
       315
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 37-40, 45-46.
       316
             Deposition 30(b)(6) of Steven Weber, February 5, 2021, pp. 54-55, 64-65.




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       118.    Since there are no agreements where Teradata licensed out patents that are useful for

       establishing a reasonable royalty for any of the SAP patents-in-suit, this Georgia-Pacific factor

       has no effect on my reasonable royalty analysis.

               11.     Georgia-Pacific Factor 13: The Portion of the Realizable Profit That Should
                       Be Credited to the Invention as Distinguished from Non-Patented Elements,
                       the Manufacturing Process, Business Risks, or Significant Features or
                       Improvements Added by the Infringer

       119.    I have addressed Georgia-Pacific Factor 13 in Section VI.C under my reasonable royalty

       analysis where I apportioned the expected incremental profits of the Teradata Accused Products

       to the claimed technologies of the SAP patents-in-suit to reflect “the portion of the realizable

       profit that should be credited to the invention as distinguished from non-patented elements.” I

       split the remaining profit between SAP and Teradata, which further accounts for Teradata’s

       contributions. As a result, this Georgia-Pacific factor has no further effect on my reasonable

       royalty analysis under the Profit Apportionment Approach.

       120.    I have also addressed Georgia-Pacific Factor 13 in Section VI.B.1 where I adjusted

                                                    to reflect the proper apportionment to the claimed

       technologies of the ’421 and ’321 patents.




                                                            As a result, this Georgia-Pacific factor has

       no further effect on my reasonable royalty analysis under the Comparable License Approach.



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                  12.      Georgia-Pacific Factor 14: The Opinion Testimony of Qualified Experts

       121.       With respect to this Georgia-Pacific factor, I reference this report in its entirety, along

       with testimony I will give at any deposition and at any trial or hearing in this matter.

                  13.      Georgia-Pacific Factor 15: Outcome of the Hypothetical Negotiation 317

       122.       Based on the relevant economic evidence analyzed throughout this report (including the

       Georgia-Pacific factors) it is my opinion that a conservative outcome of the hypothetical

       negotiations for a non-exclusive, U.S-only license to each of the SAP patents-in-suit under

       Damages Scenario 1 would be as follows:

            April 2017 Hypothetical Negotiation for the ’421 Patent
             o Comparable License Approach318
                       My economic damages analysis based on the comparable JuxtaComm-SAP
                        agreement, as specifically addressed under Georgia-Pacific Factor 12, results in
                        lump-sum reasonable royalties for the ’421 patent of         for the damages period
                        from April 18, 2017 through November 2021 and               for the damages period
                        from May 21, 2019 through November 2021.319 My Comparable License Approach
                        is supported by the real-world patent valuation approach implemented by SAP in its
                        negotiations with ServiceNow leading to the SAP-ServiceNow agreements.
                       The adjustments I have made to the
                                  address many of the considerations under the remaining Georgia-Pacific
                        factors.
                        (1) The revenue adjustment accounts for the scope of the SAP-Teradata hypothetical
                            license (Georgia-Pacific Factor 3), term of the SAP-Teradata hypothetical license
                            (Georgia-Pacific Factor 7), and the commercial success and revenues of the
                            Teradata Accused Products (Georgia-Pacific Factor 8).


       317
             Specifically, “[t]he amount that a licensor (such as the patentee) and a licensee (such as the infringer) would
             have agreed upon (at the time the infringement began) if both had been reasonably and voluntarily trying to
             reach an agreement; that is, the amount which a prudent licensee —who desired, as a business proposition, to
             obtain a license to manufacture and sell a particular article embodying the patented invention—would have been
             willing to pay as a royalty and yet be able to make a reasonable profit and which amount would have been
             acceptable by a prudent patentee who was willing to grant a license.” See Georgia-Pacific Corp. v. United States
             Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970).
       318
             See Exhibit 2b for my calculation of lump-sum reasonable royalties for the ’421 patent under the Comparable
             License Approach for Damages Scenario 2.
       319
             Exhibit 2a.




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                      (2) The technical value adjustment accounts for the apportionment to the claimed
                          technology of the ’421 patent (Georgia-Pacific Factor 13).
                      (3) The validity and infringement adjustment accounts for the assumptions of validity
                          and infringement for the ’421 patent at the SAP-Teradata hypothetical negotiation
                          (Georgia-Pacific Factor 15).
                      (4) Furthermore, I have accounted for the incremental value of the ’421 patented
                          technology over not having this technology implemented in the Teradata Accused
                          Products (Georgia-Pacific Factors 9, 10, and 11).
                     There are additional considerations under the Georgia-Pacific factors that would have
                      an upward effect on the reasonable royalties for the ’421 patent under the Comparable
                      License Approach, but I conservatively do not make any adjustments for these
                      effects.
                      (1) SAP would be unwilling to grant a one-way license to the ’421 patent to Teradata,
                          a company that participated as a supplier in the same overall industry (Georgia-
                          Pacific Factor 4).
                      (2) JuxtaComm and SAP were not competitors related to the accused Business
                          Objects products that were the subject of the JuxtaComm-SAP agreement, while
                          SAP and Teradata participated as suppliers in the same overall industry (Georgia-
                          Pacific Factor 5).
             o Profit Apportionment Approach 320
                     My economic damages analysis based on the apportionment of the expected profits of
                      the Teradata Accused Products to the claimed technologies of the ’421 patent, as
                      specifically addressed under Georgia-Pacific Factors 8 and 13, results in lump-sum
                      reasonable royalties for the ’421 patent of                        for the damages
                      period from April 18, 2017 through November 2021 and                            for
                      the damages period from May 21, 2019 through November 2021. 321
                     The steps in my Profit Apportionment Approach address many of the considerations
                      under the remaining Georgia-Pacific factors.
                      (1) The expected revenues for the Teradata Accused Products used in this approach
                          account for the scope of the SAP-Teradata hypothetical license (Georgia-Pacific
                          Factor 3) and the term of the SAP-Teradata hypothetical license (Georgia-Pacific
                          Factor 7).
                      (2) The split of the apportioned incremental profits for the Teradata Accused
                          Products between SAP and Teradata further apportions for Teradata’s
                          contributions to the accused products (Georgia-Pacific Factor 13).




       320
             See Exhibit 3b for my calculation of lump-sum reasonable royalties for the ’421 patent under the Profit
             Apportionment Approach for Damages Scenario 2.
       321
             Exhibit 3a.




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                      (3) Furthermore, I have accounted for the incremental value of the ’421 patented
                          technology over not having this technology implemented in the Teradata Accused
                          Products (Georgia-Pacific Factors 9, 10, and 11).
                     There are additional considerations under the Georgia-Pacific factors that would have
                      an upward effect on the reasonable royalties for the ’421 patent under the Profit
                      Apportionment Approach, but I conservatively do not make any adjustments for these
                      effects.
                      (1) SAP would be unwilling to grant a one-way license to the ’421 patent to Teradata,
                          a company that participated as a supplier in the same overall industry (Georgia-
                          Pacific Factor 4).
                      (2) SAP and Teradata participated as suppliers in the same overall industry, although
                          they were not direct competitors related to the Teradata Accused Products
                          (Georgia-Pacific Factor 5).
            September 2014 Hypothetical Negotiation for the ’321 Patent
             o Comparable License Approach322
                     My economic damages analysis based on the comparable JuxtaComm-SAP
                      agreement, as specifically addressed under Georgia-Pacific Factor 12, results in
                      lump-sum reasonable royalties for the ’321 patent of         for the damages period
                      from September 1, 2014 through November 2021 and             for the damages period
                      from May 21, 2019 through November 2021.323 My Comparable License Approach
                      is supported by the real-world patent valuation approach implemented by SAP in its
                      negotiations with ServiceNow leading to the SAP-ServiceNow agreements.
                     The adjustments I have made to the
                                address many of the considerations under the remaining Georgia-Pacific
                      factors.
                      (1) The revenue adjustment accounts for the scope of the SAP-Teradata hypothetical
                          license (Georgia-Pacific Factor 3), term of the SAP-Teradata hypothetical license
                          (Georgia-Pacific Factor 7), and the commercial success and revenues of the
                          Teradata Accused Products (Georgia-Pacific Factor 8).
                      (2) The technical value adjustment accounts for the apportionment to the claimed
                          technology of the ’321 patent (Georgia-Pacific Factor 13).
                      (3) The validity and infringement adjustment accounts for the assumptions of validity
                          and infringement for the ’321 patent at the SAP-Teradata hypothetical negotiation
                          (Georgia-Pacific Factor 15).




       322
             See Exhibit 2b for my calculation of lump-sum reasonable royalties for the ’321 patent under the Comparable
             License Approach for Damages Scenario 2.
       323
             Exhibit 2a.




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                      (4) Furthermore, I have accounted for the incremental value of the ’321 patented
                          technology over not having this technology implemented in the Teradata Accused
                          Products (Georgia-Pacific Factors 9, 10, and 11).
                     There are additional considerations under the Georgia-Pacific factors that would have
                      an upward effect on the reasonable royalties for the ’321 patent under the Comparable
                      License Approach, but I conservatively do not make any adjustments for these
                      effects.
                      (1) SAP would be unwilling to grant a one-way license to the ’321 patent to Teradata,
                          a company that participated as a supplier in the same overall industry (Georgia-
                          Pacific Factor 4).
                      (2) JuxtaComm and SAP were not competitors related to the accused Business
                          Objects products that were the subject of the JuxtaComm-SAP agreement, while
                          SAP and Teradata participated as suppliers in the same overall industry (Georgia-
                          Pacific Factor 5).
             o Profit Apportionment Approach 324
                     My economic damages analysis based on the apportionment of the expected profits of
                      the Teradata Accused Products to the claimed technologies of the ’321 patent, as
                      specifically addressed under Georgia-Pacific Factors 8 and 13, results in lump-sum
                      reasonable royalties for the ’321 patent of           for the damages period from
                      September 1, 2014 through November 2021 and                 for the damages period
                                                                  325
                      from May 21, 2019 through November 2021.
                     The steps in my Profit Apportionment Approach address many of the considerations
                      under the remaining Georgia-Pacific factors.
                      (1) The expected revenues for the Teradata Accused Products used in this approach
                          account for the scope of the SAP-Teradata hypothetical license (Georgia-Pacific
                          Factor 3) and the term of the SAP-Teradata hypothetical license (Georgia-Pacific
                          Factor 7).
                      (2) The split of the apportioned incremental profits for the Teradata Accused
                          Products between SAP and Teradata further apportions for Teradata’s
                          contributions to the accused products (Georgia-Pacific Factor 13).
                      (3) Furthermore, I have accounted for the incremental value of the ’321 patented
                          technology over not having this technology implemented in the Teradata Accused
                          Products (Georgia-Pacific Factors 9, 10, and 11).
                     There are additional considerations under the Georgia-Pacific factors that would have
                      an upward effect on the reasonable royalties for the ’321 patent under the Profit




       324
             See Exhibit 3b for my calculation of lump-sum reasonable royalties for the ’321 patent under the Profit
             Apportionment Approach for Damages Scenario 2.
       325
             Exhibit 3a.




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                      Apportionment Approach, but I conservatively do not make any adjustments for these
                      effects.
                      (1) SAP would be unwilling to grant a one-way license to the ’321 patent to Teradata,
                          a company that participated as a supplier in the same overall industry (Georgia-
                          Pacific Factor 4).
                      (2) SAP and Teradata participated as suppliers in the same overall industry, although
                          they were not direct competitors related to the Teradata Accused Products
                          (Georgia-Pacific Factor 5).
            May 2013 Hypothetical Negotiation for the ’437 Patent
             o Profit Apportionment Approach 326
                     My economic damages analysis based on the apportionment of the expected profits of
                      the Teradata Accused Products to the claimed technologies of the ’437 patent, as
                      specifically addressed under Georgia-Pacific Factors 8 and 13, results in lump-sum
                      reasonable royalties for the ’437 patent of                        for the damages
                      period from July 10, 2013 through November 2021 and                          for the
                                                                                 327
                      damages period from May 21, 2019 through November 2021.
                     The steps in my Profit Apportionment Approach address many of the considerations
                      under the remaining Georgia-Pacific factors.
                      (1) The expected revenues for the Teradata Accused Products used in this approach
                          account for the scope of the SAP-Teradata hypothetical license (Georgia-Pacific
                          Factor 3) and the term of the SAP-Teradata hypothetical license (Georgia-Pacific
                          Factor 7).
                      (2) The split of the apportioned incremental profits for the Teradata Accused
                          Products between SAP and Teradata further apportions for Teradata’s
                          contributions to the accused products (Georgia-Pacific Factor 13).
                      (3) Furthermore, I have accounted for the incremental value of the ’437 patented
                          technology over not having this technology implemented in the Teradata Accused
                          Products (Georgia-Pacific Factors 9, 10, and 11).
                     There are additional considerations under the Georgia-Pacific factors that would have
                      an upward effect on the reasonable royalties for the ’437 patent under the Profit
                      Apportionment Approach, but I conservatively do not make any adjustments for these
                      effects.
                      (1) SAP would be unwilling to grant a one-way license to the ’437 patent to Teradata,
                          a company that participated as a supplier in the same overall industry (Georgia-
                          Pacific Factor 4).



       326
             See Exhibit 3b for my calculation of lump-sum reasonable royalties for the ’437 patent under the Profit
             Apportionment Approach for Damages Scenario 2.
       327
             Exhibit 3a.




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                      (2) SAP and Teradata participated as suppliers in the same overall industry, although
                          they were not direct competitors related to the Teradata Accused Products
                          (Georgia-Pacific Factor 5).
            May 2013 Hypothetical Negotiation for the ’179 Patent
             o Profit Apportionment Approach 328
                     My economic damages analysis based on the apportionment of the expected profits of
                      the Teradata Accused Products to the claimed technologies of the ’179 patent, as
                      specifically addressed under Georgia-Pacific Factors 8 and 13, results in lump-sum
                      reasonable royalties for the ’179 patent of                        for the damages
                      period from July 10, 2013 through November 2021 and                             for
                      the damages period from May 21, 2019 through November 2021. 329
                     The steps in my Profit Apportionment Approach address many of the considerations
                      under the remaining Georgia-Pacific factors.
                      (1) The expected revenues for the Teradata Accused Products used in this approach
                          account for the scope of the SAP-Teradata hypothetical license (Georgia-Pacific
                          Factor 3) and the term of the SAP-Teradata hypothetical license (Georgia-Pacific
                          Factor 7).
                      (2) The split of the apportioned incremental profits for the Teradata Accused
                          Products between SAP and Teradata further apportions for Teradata’s
                          contributions to the accused products (Georgia-Pacific Factor 13).
                      (3) Furthermore, I have accounted for the incremental value of the ’179 patented
                          technology over not having this technology implemented in the Teradata Accused
                          Products (Georgia-Pacific Factors 9, 10, and 11).
                     There are additional considerations under the Georgia-Pacific factors that would have
                      an upward effect on the reasonable royalties for the ’179 patent under the Profit
                      Apportionment Approach, but I conservatively do not make any adjustments for these
                      effects.
                      (1) SAP would be unwilling to grant a one-way license to the ’179 patent to Teradata,
                          a company that participated as a supplier in the same overall industry (Georgia-
                          Pacific Factor 4).
                      (2) SAP and Teradata participated as suppliers in the same overall industry, although
                          they were not direct competitors related to the Teradata Accused Products
                          (Georgia-Pacific Factor 5).




       328
             See Exhibit 3b for my calculation of lump-sum reasonable royalties for the ’179 patent under the Profit
             Apportionment Approach for Damages Scenario 2.
       329
             Exhibit 3a.




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       Dated: March 29, 2021




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Panelist, “Remedies in Patent Cases,” Fifth Annual Conference on The Role of the Courts in Patent
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California Gould School of Law, Los Angeles, March 23, 2015.

Panelist, “IP and Antitrust – The Current State of Economic Analysis,” Global Competition Review
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Panelist, “FRAND Royalty Rates After Ericsson v. D-Link,” American Bar Association, May 15,
2015.

Participant, Patent Damages Workshop, University of California-Berkeley, March 3, 2016.

Panelist, “FRANDtopia – In a Perfect World,” LAIPLA Spring Conference, May 5, 2018.

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Professional activities
Member, American Economic Association

Member, Econometric Society

Member, American Bar Association

Contributor, www.antitrust.org

Contributor, ABA Section of Antitrust Law, Econometrics, 2005

Associate Editor, Antitrust, 2007-2010

Senior Editor, Antitrust Law Journal, 2012-; Associate Editor, 2010-2012

Co-Editor, ABA Section of Antitrust Law Economics Committee Newsletter, 2009-2012

Member, Economics Task Force, ABA Section of Antitrust Law, 2011-2012

Member, ABA Delegation to International Seminar on Anti-Monopoly Law: Procedure and
Substantive Assessment in Merger Control, Beijing, People’s Republic of China, December 15-17,
2008.
Member, Working Group for drafting the “Joint Comments of the American Bar Association Section
of Antitrust Law and Section of International Law on the MOFCOM Draft Guidelines for Definition of
Relevant Markets,” 2009.
Member, Working Group for drafting the “Joint Comments of the American Bar Association Section
of Antitrust Law and Section of International Law on the SAIC Draft Regulations on the Prohibition
of Acts of Monopoly Agreements and of Abuse of Dominant Market Position,” 2009.
Member, Working Group for drafting the “Joint Comments of the American Bar Association Section
of Antitrust Law and Section of International Law on the SAIC Draft Regulations on the Prohibition
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Environmental Economics and Management, Research in Law and Economics, Labour Economics,
Eastern Economic Journal, Journal of Forensic Economics, Antitrust, Antitrust Law Journal, Journal
of Competition Law and Economics, Advances in Econometrics.


Professional history
12/2019–Present     Vice President, Charles River Associates
2012–2019           Partner, Edgeworth Economics
2008–2012           Senior Vice President, NERA Economic Consulting

2004–2008           Vice President, NERA Economic Consulting
2000–2004           Senior Vice President, Lexecon, Inc.
1991–2000           Director, Cambridge Economics, Inc.
1990–1991           Senior Analyst, NERA Economic Consulting
1989–1990           Assistant Professor, Columbia University
                       Econometrics

                       Statistics
                       Labor Economics
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                                                               Documents Relied Upon

                                                                  Report and Exhibits

           Bates Documents
             SAP_02681642                        SAP_02684433                          SAP_02684444                SAP_02684484
             SAP_02684508                        SAP_02684532                          SAP_02684558                SAP_02684582
             SAP_02684613                        SAP_02684614                          SAP_02684624                SAP_02684638
             SAP_02684660                        SAP_02684682                          SAP_02684740                SAP_02684746
             SAP_02684751                        SAP_02684778                          SAP_03201345                SAP_04262818
             SAP_04691633                        SAP_14068642                          SAP_36981833                SAP_43550459
             SAP_43550525                        SAP_43550578                          SAP_43550583                SAP_47962609
             SAP_47962610                        SAP_47962612                          SAP_47962615                SAP_47962622
             SAP_63723577                        SAP-00006740                          SAP-00006742                SAP-00006744
             SAP-MS_00000310                     TD00048499                            TD00453377                  TD00500555
             TD00546501                          TD00558114                            TD00588575                  TD00629908
             TD01806924                          TD01894105                            TD01894122                  TD01894144
             TD01894152                          TD01894156                            TD01894169                  TD01894177
             TD01894192                          TD01894209                            TD01894229                  TD01894246
             TD01896420                          TD01896424                            TD01896432                  TD01896433
             TD01896436                          TD01896462                            TD01896464                  TD01896478
             TD01921852                          TD01923635                            TD02175809                  TD02218145
             TD02483960                          TD02574125                            TD03206560                  TD03206561
             TD03206562                          TD03206563                            TD03206564                  TD03206565
             TD03206566                          TD03206567                            TD03206568                  TD03206569
             TD03206570                          TD03206571                            TD03206572                  TD03532710
             TD03637000                          TD04145710                            TD08180620                  TD08584489
             TD08585047                          TD13385100                            TD13482233                  TD13482238
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                                                Actuals




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                                                              Exhibit 6b



                                                Actuals




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                                                              Exhibit 6c



                                                Actuals




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                                                              Exhibit 6d



                                                Actuals




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                                                              Exhibit 6e



                                                Actuals




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                                                              Exhibit 6f



                                                Actuals




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                                                             Exhibit 6g




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